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                                                                              APPEAL,CUSTODY,LC−1
                                    U.S. District Court
           U.S. District Court for the Northern District of Oklahoma (Tulsa)
              CRIMINAL DOCKET FOR CASE #: 4:09−cr−00043−SPF−1

    Case title: USA v. Springer et al                           Date Filed: 03/10/2009
    Other court case numbers: 09−5165 10th Circuit Court        Date Terminated: 04/28/2010
                                10−5101 10th Circuit
                                11−10096 US Supreme Court
                                13−5113 10th Circuit
                                14−5111 10th Circuit
                                17−8312 US Supreme Court
    Related Case: 4:13−cv−00145−SPF−tlw

    Assigned to: Judge Stephen P
    Friot
    Appeals court case numbers:
    '10−5055 (#340)' '10th Circuit',
    10−5156 (#428) 10th Circuit,
    11−5053 (#447) 10th Circuit,
    13−5062 (#497) 10th Circuit,
    14−5047 (#554) 10th Circuit,
    14−5109 (#588) 10th Circuit,
    15−5109 (#607) 10th Circuit

    Defendant (1)
    Lindsey Kent Springer                 represented by Lindsey Kent Springer
    TERMINATED: 04/28/2010                               #02580−063
                                                         Federal Satellite Camp
                                                         PO BOX 9000
                                                         SEAGOVILLE, TX 75159
                                                         PRO SE

                                                        Jerold W Barringer
                                                        P O BOX 213
                                                        NOKOMIS, IL 62075
                                                        217−563−2646
                                                        TERMINATED: 04/21/2011
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: CJA or Other Appointment

                                                        Oliver Dean Sanderford
                                                        Federal Public Defender (Denver)
                                                        633 17TH ST STE 1000
                                                        DENVER, CO 80202
                                                        303−294−7002
                                                                                                    1
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                                             Fax: 303−294−1192
                                             Email: dean.sanderford@fd.org
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
                                             Designation: Public Defender or Community
                                             Defender Appointment

                                             Robert Scott Williams
                                             Federal Public Defender (Muskogee)
                                             627 W BROADWAY
                                             MUSKOGEE, OK 74401
                                             918−687−2430
                                             Fax: 918−687−2392
                                             Email: robert_williams@fd.org
                                             TERMINATED: 04/27/2010
                                             LEAD ATTORNEY
                                             Designation: Public Defender or Community
                                             Defender Appointment

    Pending Counts                           Disposition
    18 USC 371: Conspiracy to
                                             BOP 60 months; SR 3 years; Restitution $771,529;
    Defraud the United States
                                             SMA $100
    (1)
    26 USC 7201: Tax Evasion                 BOP 60 months consecutive to Ct 1; SR 3 years;
    (2)                                      SMA $100
    26 USC 7201: Tax Evasion and 18
                                             BOP 60 months consecutive to Ct 12 SR 3 years;
    USC 2
                                             SMA $100
    (3)
    26 USC 7201: Tax Evasion and 18
                                             BOP 60 months concurrent to Ct 1,2,3; SR 3 years;
    USC 2
                                             SMA $100
    (4)
    26 USC 7203: Failure to File Tax
                                             BOP 12 months concurrent to Ct 1,2,3; SR 1 year;
    Return
                                             SMA $25
    (5−6)

    Highest Offense Level (Opening)
    Felony

    Terminated Counts                        Disposition
    None

    Highest Offense Level
    (Terminated)
    None

    Complaints                               Disposition
                                                                                                 2
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    None



    Plaintiff
    USA                                        represented by Charles Anthony O'Reilly
                                                              US Department of Justice (Box 972)
                                                              P O Box 972
                                                              Washington, DC 20044
                                                              202−616−0115
                                                              Email: charles.a.o'reilly@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Government Attorney
                                                              (local,state,federal)

                                                              Jeffrey Andrew Gallant
                                                              United States Attorney's Office (Tulsa)
                                                              110 W 7TH ST STE 300
                                                              TULSA, OK 74119−1013
                                                              918−382−2715
                                                              Fax: 918−560−7938
                                                              Email: Jeff.Gallant@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Government Attorney
                                                              (local,state,federal)

                                                              Kenneth P Snoke
                                                              United States Attorney's Office (Tulsa)
                                                              110 W 7TH ST STE 300
                                                              TULSA, OK 74119−1013
                                                              918−382−2700
                                                              Fax: 918−560−7946
                                                              Email: ken.snoke@usdoj.gov
                                                              TERMINATED: 06/08/2010
                                                              LEAD ATTORNEY
                                                              Designation: Government Attorney
                                                              (local,state,federal)

     Date Filed   #   Page Docket Text
     03/10/2009   1        DEFENDANT INFORMATION SHEET(S) by USA as to Lindsey Kent
                           Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/10/2009) Contains
                           One or More Restricted PDFs
     03/10/2009   2        INDICTMENT by USA as to Lindsey Kent Springer (1) count(s) 1, 2, 3−4,
                           5−6, Oscar Amos Stilley (2) count(s) 1, 3−4 (pll, Dpty Clk) (Entered:
                           03/10/2009)
     03/10/2009   3        SUMMONS Issued by Court Clerk as to Lindsey Kent Springer (pll, Dpty
                           Clk) (Entered: 03/10/2009) Contains One or More Restricted PDFs


                                                                                                         3
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    03/18/2009    5      MOTION for Electronic Access by Lindsey Kent Springer as to Lindsey Kent
                         Springer (sjm, Dpty Clk) (Entered: 03/18/2009)
    03/18/2009    6      MOTION for In Camera Review of Fifth Amendment Proffer by Lindsey Kent
                         Springer (sjm, Dpty Clk) (Entered: 03/18/2009)
    03/18/2009    7      BRIEF in Support of Motion (Re: 6 MOTION for In Camera Review of Fifth
                         Amendment Proffer ) by Lindsey Kent Springer (sjm, Dpty Clk) (Entered:
                         03/18/2009)
    03/18/2009    8      MOTION for Bill of Particulars by Lindsey Kent Springer (sjm, Dpty Clk)
                         (Entered: 03/18/2009)
    03/18/2009    9      MINUTE ORDER by Judge Payne, due to Court conflict, recusing Judge
                         James H Payne, this case is hereby returned to the Court Clerk for further
                         reassignment, Court Clerk reassigned to case as to Lindsey Kent Springer,
                         Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/18/2009)
    03/18/2009   10      MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary:
                         Initial Appearance held on 3/18/2009, Arraignment held on 3/18/2009,
                         appointing CJA attorney Robert Scott Williams for Lindsey Kent Springer,
                         setting/resetting bond as to Lindsey Kent Springer (Court Reporter: C1) (kjp,
                         Dpty Clk) (Entered: 03/18/2009)
    03/18/2009   11      ORDER by Magistrate Judge Paul J Cleary (for purposes of initial appearance
                         only), appointing CJA attorney as to Lindsey Kent Springer (kjp, Dpty Clk)
                         (Entered: 03/18/2009)
    03/18/2009   12      ORDER by Magistrate Judge Paul J Cleary, setting conditions of release as to
                         Lindsey Kent Springer (kjp, Dpty Clk) (Entered: 03/18/2009)
    03/18/2009   13      BOND approved by Magistrate Judge Paul J Cleary as to Lindsey Kent
                         Springer (kjp, Dpty Clk) (Entered: 03/18/2009)
    03/19/2009   18      ORDER by Magistrate Judge Paul J Cleary directing defendants regarding
                         representation, setting/resetting deadline(s)/hearing(s): (copy of Order mailed
                         to both defendants on 3/19/09) ( Miscellaneous Deadline set for 3/30/2009) as
                         to Lindsey Kent Springer, Oscar Amos Stilley (kjp, Dpty Clk) (Entered:
                         03/19/2009)
    03/23/2009   19      RESPONSE (Re: 8 MOTION for Bill of Particulars, 5 MOTION for
                         Electronic Access, 7 Brief in Support of Motion, 6 MOTION for In Camera
                         Review of Fifth Amendment Proffer ) by USA as to Lindsey Kent Springer,
                         Oscar Amos Stilley (Snoke, Kenneth) (Entered: 03/23/2009)
    03/24/2009   20      MOTION to Withdraw Attorney(s) R. Scott Williams by Lindsey Kent
                         Springer as to Lindsey Kent Springer (Williams, Robert) Modified on
                         3/25/2009 to reference to Oscar Stilley (tjc, Dpty Clk). (Entered: 03/24/2009)
    03/24/2009   21      MOTION for Hearing (Re: 20 MOTION to Withdraw Attorney(s) ) by
                         Lindsey Kent Springer as to Lindsey Kent Springer (Williams, Robert)
                         Modified on 3/25/2009 to remove reference to Oscar Stilley (tjc, Dpty Clk).
                         (Entered: 03/24/2009)
    03/25/2009           NOTICE of Docket Entry Modification; Error: During e−filing the attorney
                         was prompted to select a case, all defendants were selected; Correction: Edited

                                                                                                           4
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                         docket text to remove Oscar Stilley as these pleadings did not name him (Re:
                         20 MOTION to Withdraw Attorney(s), 21 MOTION for Hearing ) as to
                         Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                         03/25/2009)
    03/25/2009   22      MINUTE ORDER by Magistrate Judge Paul J Cleary, setting/resetting
                         deadline(s)/hearing(s): ( Miscellaneous Hearing set for 3/30/2009 at 02:30 PM
                         before Magistrate Judge Paul J Cleary) as to Lindsey Kent Springer, Oscar
                         Amos Stilley (kjp, Dpty Clk) (Entered: 03/25/2009)
    03/30/2009   23      MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary:
                         Miscellaneous Hearing held on 3/30/2009 re Representation; Defendants
                         Waive Counsel, ruling on motion(s)/document(s): #5 granted,
                         striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer, Oscar
                         Amos Stilley (Re: 5 MOTION for Electronic Access ) (Court Reporter: C1)
                         (kjp, Dpty Clk) (Entered: 03/31/2009)
    03/31/2009   24      MINUTE ORDER by Court Clerk at the direction of Chief Judge Claire V.
                         Eagan, reassigning case to Judge Stephen P Friot. Court Clerk no longer
                         assigned to case, changing case number to 09−CR−43−SPF as to Lindsey Kent
                         Springer, Oscar Amos Stilley (a−hc, Dpty Clk) (Entered: 03/31/2009)
    04/01/2009   25      MOTION for Protective Order by USA as to Lindsey Kent Springer, Oscar
                         Amos Stilley (O'Reilly, Charles) (Entered: 04/01/2009)
    04/02/2009   26      ORDER by Judge Stephen P Friot (Protective Order), ruling on
                         motion(s)/document(s): #25 Granted (Re: 25 MOTION for Protective Order )
                         as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                         04/02/2009)
    04/03/2009   27      ORDER by Magistrate Judge Paul J Cleary Appointing Standby Counsel,
                         adding attorney Robert Scott Williams for Lindsey Kent Springer, Charles
                         Robert Burton, IV for Oscar Amos Stilley, ruling on motion(s)/document(s):
                         #20 and #21 moot (Re: 20 MOTION to Withdraw Attorney(s) R. Scott
                         Williams, 21 MOTION for Hearing ) as to Lindsey Kent Springer, Oscar
                         Amos Stilley (kjp, Dpty Clk) (Entered: 04/03/2009)
    04/07/2009   29      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                         Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P Friot,
                         Scheduling Conference set for 4/22/2009 at 10:00 AM before Judge Stephen P
                         Friot) (Re: 8 MOTION for Bill of Particulars, 6 MOTION for In Camera
                         Review of Fifth Amendment Proffer ) as to Lindsey Kent Springer, Oscar
                         Amos Stilley (pll, Dpty Clk) (Entered: 04/07/2009)
    04/07/2009   30      MOTION to Clarify appointment of Honorable Judge Stephen P. Friot by
                         Lindsey Kent Springer (Springer, Lindsey) (Entered: 04/07/2009)
    04/08/2009   32      ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09 (Re:
                         30 MOTION to Clarify appointment of Honorable Judge Stephen P. Friot ) as
                         to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/08/2009)
    04/10/2009   33      MOTION for Bill of Particulars by Oscar Amos Stilley as to Lindsey Kent
                         Springer, Oscar Amos Stilley (Stilley, Oscar) (Entered: 04/10/2009)
    04/10/2009   34      ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09 (Re:
                         33 MOTION for Bill of Particulars, 29 Order,,,, Setting/Resetting
                                                                                                          5
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                         Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s) ) as to
                         Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                         04/10/2009)
    04/13/2009   35      MOTION for Protective Order Pending Prospective Franks Hearing by
                         Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                         04/13/2009)
    04/13/2009   36      MOTION to Unseal Document(s) in 03−CR−55E (Re: 35 MOTION for
                         Protective Order Pending Prospective Franks Hearing ) by Lindsey Kent
                         Springer (With attachments) (Springer, Lindsey) (Entered: 04/13/2009)
    04/13/2009   37      MOTION Request for Release of Affidavit and Transcript surrounding
                         issuance of Search Warrant dated 9.15.05 by Lindsey Kent Springer (With
                         attachments) (Springer, Lindsey) (Entered: 04/13/2009)
    04/13/2009   38      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                         Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P Friot)
                         (Re: 37 MOTION Request for Release of Affidavit and Transcript surrounding
                         issuance of Search Warrant dated 9.15.05, 35 MOTION for Protective Order
                         Pending Prospective Franks Hearing, 36 MOTION to Unseal Document(s) in
                         03−CR−55E ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered:
                         04/13/2009)
    04/15/2009   39      MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                         Affidavit and Materials from Case 03−CR−055−CVE by USA as to Lindsey
                         Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 04/15/2009)
    04/15/2009   40      NOTICE NOTICE RE GOVERNMENT MOTION FOR LIMITED
                         UNSEALING OF SEARCH WARRANT AFFIDAVIT AND MATERIALS
                         FROM CASE 03−CR−043−CVE (Re: 39 MOTION Unopposed Motion for
                         Limited Unsealing of Search Warrant and Affidavit and Materials from Case
                         03−CR−055−CVE ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                         (With attachments) (O'Reilly, Charles) (Entered: 04/15/2009)
    04/16/2009   41      ORDER by Judge Stephen P Friot setting Motion for Hearing on 4/22/09 (Re:
                         39 MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                         Affidavit and Materials from Case 03−CR−055−CVE ) as to Lindsey Kent
                         Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/16/2009)
    04/16/2009   42      RESPONSE in Opposition to Motion Consolidated (Re: 37 MOTION Request
                         for Release of Affidavit and Transcript surrounding issuance of Search
                         Warrant dated 9.15.05, 33 MOTION for Bill of Particulars, 8 MOTION for
                         Bill of Particulars, 35 MOTION for Protective Order Pending Prospective
                         Franks Hearing, 30 MOTION to Clarify appointment of Honorable Judge
                         Stephen P. Friot, 6 MOTION for In Camera Review of Fifth Amendment
                         Proffer, 36 MOTION to Unseal Document(s) in 03−CR−55E ) by USA as to
                         Lindsey Kent Springer, Oscar Amos Stilley (With attachments) (O'Reilly,
                         Charles) (Entered: 04/16/2009)
    04/22/2009   43      MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                         Hearing held on 4/22/2009, Scheduling Conference held on 4/22/2009, ruling
                         on motion(s)/document(s): #30 Granted, #6, 8, 33 Denied, #36, 37, 39 Granted
                         in Part, Denied in part, taking motion(s) under advisement, setting/resetting
                         deadline(s)/hearing(s): ( Motions due by 6/1/2009, Responses due by

                                                                                                         6
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                         6/15/2009, Motion Hearing set for 7/9/2009 at 09:00 AM before Judge
                         Stephen P Friot, Jury Instructions, Voir Dire & Trial Briefs due by 8/3/2009,
                         Pretrial Conference set for 10/21/2009 at 10:00 AM before Judge Stephen P
                         Friot, Jury Trial set for 10/26/2009 at 09:30 AM before Judge Stephen P Friot)
                         as to Lindsey Kent Springer, Oscar Amos Stilley (Re: 37 MOTION Request
                         for Release of Affidavit and Transcript surrounding issuance of Search
                         Warrant dated 9.15.05, 33 MOTION for Bill of Particulars, 8 MOTION for
                         Bill of Particulars, 39 MOTION Unopposed Motion for Limited Unsealing of
                         Search Warrant and Affidavit and Materials from Case 03−CR−055−CVE, 35
                         MOTION for Protective Order Pending Prospective Franks Hearing, 30
                         MOTION to Clarify appointment of Honorable Judge Stephen P. Friot, 6
                         MOTION for In Camera Review of Fifth Amendment Proffer, 36 MOTION to
                         Unseal Document(s) in 03−CR−55E ) (Court Reporter: Tracy Washbourne)
                         (pll, Dpty Clk) (Entered: 04/22/2009)
    04/27/2009   44      REPLY to Response to Motion (Re: 35 MOTION for Protective Order
                         Pending Prospective Franks Hearing ) by Lindsey Kent Springer (Springer,
                         Lindsey) (Entered: 04/27/2009)
    04/29/2009   46      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                         Responses due by 5/11/2009) (Re: 44 Reply to Response to Motion ) as to
                         Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on
                         5/1/2009 to seal PDF, as ENTERED IN ERROR; duplicate entry see Doc # 45
                         for correct entry (tjc, Dpty Clk). (Entered: 04/30/2009) Contains One or More
                         Restricted PDFs
    04/30/2009   45      ORDER by Judge Stephen P Friot directing surreply (Re: 35 MOTION for
                         Protective Order Pending Prospective Franks Hearing, 44 Reply to Response
                         to Motion ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/30/2009)
    05/01/2009           NOTICE of Docket Entry Modification; Error: Duplicate entry, ENTERED IN
                         ERROR; Correction: Sealed PDF as this was a duplicate entry; see Doc # 45
                         for correct entry (Re: 46 Order,, Setting/Resetting Deadline(s)/Hearing(s),
                         Setting/Resetting Deadline(s)/Hearing(s),, ) as to Lindsey Kent Springer,
                         Oscar Amos Stilley (tjc, Dpty Clk) (Entered: 05/01/2009)
    05/01/2009   47      NOTICE of Request pursuant to Fed.R.Cr.Pr.Rule 16(a)(1)(G) as to Lindsey
                         Kent Springer (Springer, Lindsey) (Entered: 05/01/2009)
    05/06/2009   48      SURREPLY to Motion (Re: 35 MOTION for Protective Order Pending
                         Prospective Franks Hearing ) by USA as to Lindsey Kent Springer (Snoke,
                         Kenneth) (Entered: 05/06/2009)
    05/08/2009   49      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) July 9, 2009,
                         Hearing on Motion for Franks Issue and/or Suppress (Re: 43 Minutes of
                         Motion Hearing,,,,,, Minutes of Scheduling Conference,,,,,, Ruling on
                         Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                         Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                         Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Taking Motion(s)
                         Under Advisement, Taking Motion(s) Under Advisement, Taking Motion(s)
                         Under Advisement, Taking Motion(s) Under Advisement, Taking Motion(s)
                         Under Advisement, Taking Motion(s) Under Advisement, Setting/Resetting
                         Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                         Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting

                                                                                                          7
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                         Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                         Setting/Resetting Deadline(s)/Hearing(s) ) by USA as to Lindsey Kent
                         Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                         05/08/2009)
    05/12/2009   50      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #49
                         Granted in Part, setting/resetting deadline(s)/hearing(s): ( Motion Hearing set
                         for 7/2/2009 at 09:00 AM before Judge Stephen P Friot) (Re: 49 MOTION to
                         Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                         Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                         Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                         Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer,
                         Oscar Amos Stilley (pll, Dpty Clk) (Entered: 05/12/2009)
    05/15/2009   51      First MOTION to Dismiss Indictment/Information/Complaint for lack of venue
                         (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                         05/15/2009)
    05/15/2009   52      First BRIEF in Support of Motion (Re: 51 First MOTION to Dismiss
                         Indictment/Information/Complaint for lack of venue ) by Lindsey Kent
                         Springer (With attachments) (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009   53      Second MOTION to Dismiss Indictment/Information/Complaint for violations
                         of Paperwork Reduction Act of 1995 (Re: 2 Indictment ) by Lindsey Kent
                         Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009   54      Second BRIEF in Support of Motion (Re: 53 Second MOTION to Dismiss
                         Indictment/Information/Complaint for violations of Paperwork Reduction Act
                         of 1995 ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                         (Entered: 05/15/2009)
    05/15/2009   55      Third MOTION to Dismiss Indictment/Information/Complaint pursuant to
                         CIR v. Duberstein (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                         Lindsey) (Entered: 05/15/2009)
    05/15/2009   56      Third BRIEF in Support of Motion (Re: 55 Third MOTION to Dismiss
                         Indictment/Information/Complaint pursuant to CIR v. Duberstein ) by Lindsey
                         Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009   57      Fourth MOTION to Dismiss Indictment/Information/Complaint for failure to
                         allege tax deficiency element (Re: 2 Indictment ) by Lindsey Kent Springer
                         (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009   58      Fourth BRIEF in Support of Motion (Re: 57 Fourth MOTION to Dismiss
                         Indictment/Information/Complaint for failure to allege tax deficiency element )
                         by Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009   59      Fifth MOTION to Dismiss Indictment/Information/Complaint on Fifth
                         Amendment Grounds (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                         Lindsey) (Entered: 05/15/2009)
    05/15/2009   60      Fifth BRIEF in Support of Motion (Re: 59 Fifth MOTION to Dismiss
                         Indictment/Information/Complaint on Fifth Amendment Grounds ) by Lindsey
                         Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009   61

                                                                                                           8
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                         Sixth MOTION to Dismiss Count(s) One, Two, Three and Four (Re: 2
                         Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                         05/15/2009)
    05/15/2009   62      Sixth BRIEF in Support of Motion (Re: 61 Sixth MOTION to Dismiss
                         Count(s) One, Two, Three and Four ) by Lindsey Kent Springer (Springer,
                         Lindsey) (Entered: 05/15/2009)
    05/15/2009   63      Seventh MOTION to Dismiss Indictment/Information/Complaint for failure to
                         allege certain specific provisions (Re: 2 Indictment ) by Lindsey Kent
                         Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009   64      Seventh BRIEF in Support of Motion (Re: 63 Seventh MOTION to Dismiss
                         Indictment/Information/Complaint for failure to allege certain specific
                         provisions ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                         05/15/2009)
    05/15/2009   65      Eighth MOTION to Dismiss Indictment/Information/Complaint violation of
                         Fourth/Fifth Amendment and Selective Prosecution (Re: 2 Indictment ) by
                         Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009   66      Eighth BRIEF in Support of Motion (Re: 65 Eighth MOTION to Dismiss
                         Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                         Selective Prosecution ) by Lindsey Kent Springer (With attachments)
                         (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009   67      MOTION to Dismiss Indictment/Information/Complaint for fraud and
                         violation of the 5th Amendment (Re: 2 Indictment ) by Oscar Amos Stilley as
                         to Oscar Amos Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove
                         defendant Lindsey Springer from text (lml, Dpty Clk). (Entered: 05/15/2009)
    05/15/2009   68      BRIEF in Support of Motion to dismiss for fraud and violation of the 5th
                         Amendment (Re: 67 MOTION to Dismiss Indictment/Information/Complaint )
                         by Oscar Amos Stilley as to Oscar Amos Stilley (Stilley, Oscar) Modified on
                         5/18/2009 to remove Lindsey Springer from text (lml, Dpty Clk). (Entered:
                         05/15/2009)
    05/15/2009   69      JOINDER of motions filed by Lindsey Springer (in [51−66] Generally
                         dispositive filed on May 15, 2009) by Oscar Amos Stilley as to Oscar Amos
                         Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove Lindsey Springer
                         from text (lml, Dpty Clk). (Entered: 05/15/2009)
    05/18/2009           NOTICE of Docket Entry Modification; Error: These documents were filed as
                         to both defendants in error; Correction: Edited docket text and removed
                         Lindsey Kent Springer from text (Re: 67 MOTION to Dismiss
                         Indictment/Information/Complaint for fraud and violation of the 5th
                         Amendment, 69 JOINDER (in [51−66] Generally dispositive filed on May 15,
                         2009), 68 Brief in Support of Motion ) as to Lindsey Kent Springer, Oscar
                         Amos Stilley (lml, Dpty Clk) (Entered: 05/18/2009)
    05/26/2009   70      ORDER by Judge Stephen P Friot vacating the stay entered by the court on
                         4/22/2009 & directing government to turn over materials to defendant Stilley,
                         ruling on motion(s)/document(s): #35 denied (Re: 35 MOTION for Protective
                         Order Pending Prospective Franks Hearing, 42 Response in Opposition to
                         Motion,, 43 Minutes of Motion Hearing,,,,,, Minutes of Scheduling

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                          Conference,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), 44 Reply to Response to Motion, 48 Surreply to
                          Motion ) as to Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk)
                          (Entered: 05/26/2009)
     05/29/2009   71      RESPONSE in Opposition to Motion Fifty−one through Sixty−seven (Re: 67
                          MOTION to Dismiss Indictment/Information/Complaint for fraud and
                          violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 69 JOINDER (in [51−66] Generally dispositive
                          filed on May 15, 2009), 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) by USA
                          as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                          05/29/2009)
     06/01/2009   74      MOTION to Suppress by Lindsey Kent Springer (Springer, Lindsey) Modified
                          on 6/2/2009; This is a multi−part motion, see Doc # 77 for second event (tjc,
                          Dpty Clk). (Entered: 06/01/2009)
     06/01/2009   75      BRIEF in Support of Motion (Re: 74 MOTION to Suppress and For Franks
                          Hearing ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                          Modified on 6/2/2009 to seal parts 22, 23 and 24 (s−srb, Dpty Clk). (Entered:
                          06/02/2009) Contains One or More Restricted PDFs
     06/01/2009   77      MOTION for Hearing (submitted as part of Doc # 74 ) by Lindsey Kent
                          Springer (tjc, Dpty Clk) (Entered: 06/02/2009)
     06/02/2009   76      AFFIDAVIT in Support of Motion (Re: 74 MOTION to Suppress and For
                          Franks Hearing ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          06/02/2009)
     06/02/2009           NOTICE of Docket Entry Modification; Error: Document # 74 is a two−part
                          motion, but not all parts were filed; Correction: Filed the remaining motion
                          part as Document # 77 (Re: 74 MOTION to Suppress ) as to Lindsey Kent
                          Springer (tjc, Dpty Clk) (Entered: 06/02/2009)
     06/02/2009   78

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                          SEALED MOTION (O'Reilly, Charles) (Entered: 06/02/2009) Contains One
                          or More Restricted PDFs
     06/02/2009   79      SEALED ORDER (s−srb, Dpty Clk) Modified on 6/2/2009 to seal pdf and
                          correct docket text(s−srb, Dpty Clk) (Entered: 06/02/2009) Contains One or
                          More Restricted PDFs
     06/15/2009   80      RESPONSE in Opposition to Motion Consolidated (Re: 77 MOTION for
                          Hearing (submitted as part of Doc # 74 ), 72 MOTION to Suppress Grand
                          Jury testimony and evidence, 74 MOTION to Suppress ) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles)
                          (Entered: 06/15/2009)
     06/15/2009   81      REPLY to Response to Motion to Dismiss (Re: 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) by
                          Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                          06/15/2009)
     06/15/2009   82      MOTION for Bill of Particulars by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 06/15/2009)
     06/17/2009   85      MINUTE ORDER by Judge Stephen P Friot, setting/resetting
                          deadline(s)/hearing(s): ( Motion Hearing set for 7/2/2009 at 09:00 AM before
                          Judge Stephen P Friot), ruling on motion(s)/document(s): #83 Denied (Re: 82
                          MOTION for Bill of Particulars, 83 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s)MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 06/17/2009)
     06/17/2009   86      MOTION to Strike Document(s) (Re: 81 Reply to Response to Motion,,, ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 06/17/2009)
     06/18/2009   87      ORDER by Judge Stephen P Friot , directing Sur−Reply, ruling on
                          motion(s)/document(s): #86 Denied (Re: 86 MOTION to Strike Document(s),
                          67 MOTION to Dismiss Indictment/Information/Complaint for fraud and
                          violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and

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                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          69 JOINDER of motions filed by Lindsey Springer (in [51−66] Generally
                          dispositive filed on May 15, 2009), 61 Sixth MOTION to Dismiss Count(s)
                          One, Two, Three and Four ) as to Lindsey Kent Springer, Oscar Amos Stilley
                          (pll, Dpty Clk) (Entered: 06/18/2009)
     06/18/2009   88      SEALED MOTION (s−srb, Dpty Clk) Modified on 6/19/2009 to correct event
                          (s−srb, Dpty Clk). (Entered: 06/19/2009) Contains One or More Restricted
                          PDFs
     06/19/2009   89      SEALED MINUTE ORDER (s−srb, Dpty Clk) (Entered: 06/19/2009)
                          Contains One or More Restricted PDFs
     06/19/2009   90      MOTION for Leave to Exceed Page Limitation by USA as to Lindsey Kent
                          Springer (Snoke, Kenneth) (Entered: 06/19/2009)
     06/23/2009   91      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #90
                          Granted (Re: 90 MOTION for Leave to Exceed Page Limitation, 67 MOTION
                          to Dismiss Indictment/Information/Complaint for fraud and violation of the
                          5th Amendment, 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          06/23/2009)
     06/25/2009   93      SURREPLY (Re: 51 First MOTION to Dismiss, 53 Second MOTION to
                          Dismiss, 55 Third MOTION to Dismiss, 57 Fourth MOTION to Dismiss, 59
                          Fifth MOTION to Dismiss, 61 Sixth MOTION to Dismiss, 63 Seventh
                          MOTION to Dismiss, 65 Eighth MOTION to Dismiss) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on 6/29/2009
                          to change text to reflect correct event and to change links to reflect base
                          motions (sac, Dpty Clk). (Entered: 06/25/2009)
     06/29/2009           NOTICE of Docket Entry Modification; Error: wrong event selected (Reply);
                          wrong links made; Correction: changed text to reflect correct event (Surreply);
                          created links to base motions (Re: 93 Reply, ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (sac, Dpty Clk) (Entered: 06/29/2009)
     06/30/2009   94      MOTION to Quash Subpoenas by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 06/30/2009)
     06/30/2009   95      ***Remark: 9 subpoenas returned as to Lindsey Kent Springer (s−srb, Dpty
                          Clk) (Entered: 07/01/2009)
     07/01/2009   96

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                          RESPONSE in Opposition to Motion (Re: 94 MOTION to Quash Subpoenas )
                          by Lindsey Kent Springer (Springer, Lindsey) (Entered: 07/01/2009)
     07/01/2009    97     RESPONSE in Opposition to Motion (Re: 82 MOTION for Bill of Particulars
                          ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 07/01/2009)
     07/01/2009    98     Clarification of (Re: 94 MOTION to Quash ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (O'Reilly, Charles) Modified on 7/2/2009 to
                          correct title of event (pll, Dpty Clk). Modified on 7/2/2009 (pll, Dpty Clk).
                          (Entered: 07/01/2009)
     07/01/2009    99     MOTION to Quash subpoena by Eddy Lynn Patterson as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 7/6/2009 to correct
                          file date (lml, Dpty Clk). (Entered: 07/02/2009)
     07/02/2009   100     MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 7/2/2009, ruling on motion(s)/document(s):
                          #51,53,55,57,59,61,63,65,67,69,72,74,77,92 Denied, #82 Granted in Part,
                          Denied in part, #94 Moot, striking/terminating deadline(s)/hearing(s) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Re: 67 MOTION to Dismiss
                          Indictment/Information/Complaint for fraud and violation of the 5th
                          Amendment, 59 Fifth MOTION to Dismiss Indictment/Information/Complaint
                          on Fifth Amendment Grounds, 63 Seventh MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege certain specific
                          provisions, 77 MOTION for Hearing (submitted as part of Doc # 74 ), 92
                          JOINDER (in [81; 82] Springer's Reply Regarding Opposition to Springer's
                          Motion to Dismiss; Motion for Bill of Particulars filed on 6/15/2009;
                          6/15/2009), 69 JOINDER (in [51−66] Generally dispositive filed on May 15,
                          2009), 55 Third MOTION to Dismiss Indictment/Information/Complaint
                          pursuant to CIR v. Duberstein, 94 MOTION to Quash, 51 First MOTION to
                          Dismiss Indictment/Information/Complaint for lack of venue, 53 Second
                          MOTION to Dismiss Indictment/Information/Complaint for violations of
                          Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          72 MOTION to Suppress Grand Jury testimony and evidence, 82 MOTION
                          for Bill of Particulars, 61 Sixth MOTION to Dismiss Count(s) One, Two,
                          Three and Four, 74 MOTION to Suppress ) (Court Reporter: Tracy
                          Washbourne) (pll, Dpty Clk) Modified on 7/8/2009 to indicate attached PDF
                          has incorrect hearing date. Date hearing held was 7/2/2009 (pll, Dpty Clk).
                          (Entered: 07/02/2009)
     07/02/2009   101     MINUTE ORDER by Judge Stephen P Friot : Following the hearing held this
                          date, the Motion to Quash filed by Eddy Lynn Patterson is hereby moot, ruling
                          on motion(s)/document(s): #99 Moot (Re: 99 MOTION to Quash subpoena )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          07/02/2009)
     07/02/2009   103     SEALED EXHIBIT(S) to Order/Minutes (Re: 100 Minutes of Motion
                          Hearing,,,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                                                                                                           13
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                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk) (Entered:
                          07/14/2009) Contains One or More Restricted PDFs
     07/08/2009   102     ORDER by Judge Stephen P Friot re: jury instructions as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 07/08/2009)
     07/14/2009   104     BILL OF PARTICULARS (Re: 82 MOTION for Bill of Particulars ) by USA
                          as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                          07/14/2009)
     07/30/2009   105     Second MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 07/30/2009)
     08/03/2009   106     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) by Lindsey Kent
                          Springer (Springer, Lindsey) Modified on 8/4/2009 to correct title of event
                          (lml, Dpty Clk). (Entered: 08/03/2009)
     08/03/2009   107     PROPOSED JURY INSTRUCTIONS by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/03/2009)
     08/04/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correcte event (Re: 106 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer (lml, Dpty Clk)
                          (Entered: 08/04/2009)
     08/04/2009   111     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #106
                          Denied (Re: 106 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                          ) as to Lindsey Kent Springer, Oscar Amos Stilley (cds, Dpty Clk) (Entered:
                          08/04/2009)
     08/05/2009   112     RESPONSE in Opposition to Motion (Re: 109 First MOTION to Dismiss
                          Count(s) 1 Conspiracy charge ) by USA as to Oscar Amos Stilley (O'Reilly,
                          Charles) Modified on 8/6/2009 to delete "as to" defendant Springer (sac, Dpty
                          Clk). (Entered: 08/05/2009)
     08/05/2009   113     MOTION to File Out of Time Proposed Jury Instructions by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) Modified on 8/6/2009 to
                          change text to reflect correct event (sac, Dpty Clk). Modified on 8/7/2009 to
                          seal attachment PDF as it was stricken per 117 (sac, Dpty Clk). (Entered:
                          08/05/2009) Contains One or More Restricted PDFs
     08/06/2009           NOTICE of Docket Entry Modification; Error: wrong event selected (Motion
                          to Accelerate/Extend/Reset Hearings/Deadlines); Correction: changed text to
                          reflect correct event (Motion to File Out of Time) (Re: 113 MOTION to File
                          Out of Time ) as to Lindsey Kent Springer (sac, Dpty Clk) (Entered:
                          08/06/2009)
     08/06/2009   114     TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                          04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                                                                                                          14
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                          (Pages: 132). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 43 Minutes of Motion Hearing, Minutes of
                          Scheduling Conference, Ruling on Motion(s)/Document(s), Taking Motion(s)
                          Under Advisement, Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 11/5/2009 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 08/06/2009)
     08/06/2009   115     TRANSCRIPT of Proceedings (Unredacted) of Motions Hearing held on
                          7/2/09 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 159). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 100 Minutes of Motion Hearing, Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) Modified on
                          11/5/2009 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          08/06/2009)
     08/06/2009   116     RESPONSE in Opposition to Motion (Re: 105 Second MOTION for Bill of
                          Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) Modified
                          on 8/7/2009 to delete "as to Oscar Amos Stilley" as this document states it is
                          as to defendant Springer only (sac, Dpty Clk). (Entered: 08/06/2009)
     08/06/2009   117     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #113
                          Denied, striking/withdrawing document(s) (Re: 113 MOTION to File Out of
                          Time ) (Documents Terminated: 113 MOTION to File Out of Time ) as to
                          Lindsey Kent Springer (pll, Dpty Clk) (Entered: 08/06/2009)
     08/07/2009   118     MOTION to Reconsider (Re: 111 Order, Ruling on Motion(s)/Document(s),
                          117 Order,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s),
                          Striking/Withdrawing Document(s) ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 08/07/2009)
     08/12/2009   119     RESPONSE in Opposition to Motion (Re: 118 MOTION to Reconsider ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 08/12/2009)
     08/12/2009   121     REPLY to Response to Motion (Re: 105 Second MOTION for Bill of
                          Particulars ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          08/12/2009)
     08/12/2009   122     REPLY to Response to Motion (Re: 118 MOTION to Reconsider ) by Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 08/12/2009)
     08/12/2009   123     Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six
                          (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          08/12/2009)
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     08/12/2009   124     Eighth BRIEF in Support of Motion (Re: 123 Eighth MOTION to Dismiss
                          Count(s) One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 08/12/2009)
     08/13/2009   125     RESPONSE in Opposition to Motion (Re: 123 Eighth MOTION to Dismiss
                          Count(s) One, Two, Three, Four, Five and Six ) by USA as to Lindsey Kent
                          Springer (O'Reilly, Charles) (Entered: 08/13/2009)
     08/13/2009   126     NOTICE of Intent to Use Expert Witness Testimony by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/13/2009)
     08/17/2009   127     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #118
                          denied (Re: 111 Order, Ruling on Motion, 117 Order, Ruling on Motion); (Re:
                          118 MOTION to Reconsider ) as to Lindsey Kent Springer (kjp, Dpty Clk)
                          Modified on 8/18/2009 to add links to #111, 117 (kjp, Dpty Clk). (Entered:
                          08/17/2009)
     08/17/2009   128     OBJECTION to Proposed Jury Instructions (Re: 107 Proposed Jury
                          Instructions ) as to Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 08/17/2009)
     08/19/2009   130     REPLY to Response to Motion (Re: 123 Eighth MOTION to Dismiss Count(s)
                          One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 08/19/2009)
     09/10/2009   134     NOTICE Pursuant to Federal Rule of Evidence 404(b) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 09/10/2009)
     09/16/2009   135     ORDER by Judge Stephen P Friot re: Pretrial Conference as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/16/2009)
     09/18/2009   136     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #105
                          denied; 109 denied; #123 denied (Re: 105 Second MOTION for Bill of
                          Particulars, 109 First MOTION to Dismiss Count(s) 1 Conspiracy charge, 123
                          Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) (Entered:
                          09/18/2009)
     09/21/2009   137     MOTION in Limine by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (O'Reilly, Charles) (Entered: 09/21/2009)
     09/21/2009   138     TRIAL BRIEF by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (Snoke, Kenneth) (Entered: 09/21/2009)
     09/21/2009   139     NOTICE of Government's Proposed Summary of Indictment by USA as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                          9/22/2009 to reflect correct event (tjc, Dpty Clk). (Entered: 09/21/2009)
     09/21/2009   141     MOTION for Subpoena(s) under Rule 17 by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 09/21/2009)
     09/21/2009   142     TRIAL BRIEF as to Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 09/21/2009)
     09/21/2009   143     NOTICE Summary of Indictment by Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 9/22/2009 to reflect correct event (tjc, Dpty Clk).
                          (Entered: 09/21/2009)
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     09/21/2009   144     First MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)
     09/21/2009   145     Second MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)
     09/21/2009   146     Third MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)
     09/21/2009   147     Fourth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)
     09/21/2009   148     Fifth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)
     09/21/2009   150     Sixth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)
     09/21/2009   151     Seventh MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)
     09/21/2009   154     OBJECTION to Prosecution 404(b) (Re: 134 Notice (Other) ) by Lindsey
                          Kent Springer (Springer, Lindsey) Modified on 9/22/2009 to reflect correct
                          event (tjc, Dpty Clk). (Entered: 09/21/2009)
     09/22/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Notice) (Re: 139 MOTION Government's
                          Proposed Summary of Indictment ) as to Lindsey Kent Springer, Oscar Amos
                          Stilley (tjc, Dpty Clk) (Entered: 09/22/2009)
     09/22/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Notice) (Re: 143 MOTION Summary of
                          Indictment ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 09/22/2009)
     09/22/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Objection) (Re: 154 MOTION Opposition to
                          Prosecution 404(b) ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                          09/22/2009)
     09/22/2009   156     ORDER by Judge Stephen P Friot : setting ex parte hearing, setting/resetting
                          deadline(s)/hearing(s): ( Motion Hearing set for 10/9/2009 at 01:30 PM before
                          Judge Stephen P Friot) (Re: 152 MOTION for Subpoena(s) pursuant to Rule
                          17(b), 141 MOTION for Subpoena(s) under Rule 17 ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/22/2009)
     09/22/2009   157     ORDER by Judge Stephen P Friot re: 10/9/09 ex parte hearing (Re: 152
                          MOTION for Subpoena(s) pursuant to Rule 17(b), 156 Order,,
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s),, 141 MOTION for Subpoena(s) under Rule 17 ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          09/22/2009)
     09/23/2009   158

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                          ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 10/21/2009 at 09:00 AM before Judge Stephen P Friot)
                          (Re: 145 Second MOTION in Limine, 150 Sixth MOTION in Limine, 137
                          MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION in Limine
                          regarding hearsay and confrontation issues, 148 Fifth MOTION in Limine,
                          144 First MOTION in Limine, 151 Seventh MOTION in Limine, 147 Fourth
                          MOTION in Limine ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 09/23/2009)
     09/24/2009   159     MOTION Emergency Motion Regarding Denny Patridge by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 09/24/2009)
     09/25/2009   160     SEALED MOTION (O'Reilly, Charles) Modified on 10/9/2009; this document
                          is STRICKEN per 183 (sac, Dpty Clk). (Entered: 09/25/2009) Contains One or
                          More Restricted PDFs
     09/25/2009   161     RESPONSE in Opposition to Motion (Re: 159 MOTION Emergency Motion
                          Regarding Denny Patridge ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 09/25/2009)
     09/25/2009   162     MOTION TAKE RULE 15 DEPOSITION by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          09/25/2009)
     09/27/2009   163     RESPONSE in Opposition to Motion (Re: 162 MOTION TAKE RULE 15
                          DEPOSITION ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          09/27/2009)
     09/28/2009   164     REPLY to Response to Motion (Re: 159 MOTION Emergency Motion
                          Regarding Denny Patridge ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/28/2009)
     09/30/2009   165     MINUTE ORDER by Judge Stephen P Friot : Until further notice, all
                          hearings in this case will be held at the Boulder Courthouse, 224 S Boulder,
                          3rd Floor Courtroom, Tulsa, OK as to Lindsey Kent Springer, Oscar Amos
                          Stilley (pll, Dpty Clk) (Entered: 09/30/2009)
     09/30/2009   166     Fourth MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 09/30/2009)
     09/30/2009   167     MOTION to Reconsider (Re: 136 Order,, Ruling on Motion(s)/Document(s),
                          Ruling on Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 10/1/2009; this is a two−part motion of which only one
                          part was efiled − see 169 for Motion to Clarify (sac, Dpty Clk). (Entered:
                          09/30/2009)
     09/30/2009   168     MOTION Daubert Hearing by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/30/2009)
     09/30/2009   169     MOTION to Clarify (submitted as part of 167 ) (Re: 136 Order,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s) ) by Lindsey Kent
                          Springer (sac, Dpty Clk) (Entered: 10/01/2009)
     10/01/2009           NOTICE of Docket Entry Modification; Error: this is a two−part motion of
                          which only one part was efiled; Correction: efiled Motion to Clarify − see 169
                          (Re: 167 MOTION to Reconsider ) as to Lindsey Kent Springer (sac, Dpty

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                          Clk) (Entered: 10/01/2009)
     10/01/2009   170     SEALED DOCUMENT (O'Reilly, Charles) Modified on 10/2/2009 to correct
                          title of event (lml, Dpty Clk). (Entered: 10/01/2009) Contains One or More
                          Restricted PDFs
     10/01/2009   171     RESPONSE in Opposition to Motion (Re: 168 MOTION Daubert Hearing )
                          by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 10/01/2009)
     10/05/2009   172     RESPONSE in Opposition to Motion Supplemental (Re: 170 SEALED
                          DOCUMENT ) by Lindsey Kent Springer (Springer, Lindsey) Modified on
                          10/7/2009 to seal pdf pursuant to Court Order # 180 (s−srb, Dpty Clk).
                          (Entered: 10/05/2009) Contains One or More Restricted PDFs
     10/05/2009   173     RESPONSE in Opposition to Motion (Re: 145 Second MOTION in Limine,
                          150 Sixth MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION
                          in Limine regarding hearsay and confrontation issues, 155 JOINDER (in
                          [141, 142, 144, 145, 146, 147, 148, 150, and 151] Motions in Limine, for
                          subpoenas pursuant to Rule 17(b), and trial brief filed on 9−21−09), 148 Fifth
                          MOTION in Limine, 144 First MOTION in Limine, 151 Seventh MOTION in
                          Limine, 147 Fourth MOTION in Limine ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 10/05/2009)
     10/05/2009   174     SEALED MOTION (O'Reilly, Charles) (Entered: 10/05/2009) Contains One
                          or More Restricted PDFs
     10/05/2009   175     RESPONSE in Opposition to Motion (Re: 152 MOTION for Subpoena(s)
                          pursuant to Rule 17(b), 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148,
                          150, and 151] Motions in Limine, for subpoenas pursuant to Rule 17(b), and
                          trial brief filed on 9−21−09), 141 MOTION for Subpoena(s) under Rule 17 )
                          by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 10/05/2009)
     10/05/2009   177     RESPONSE in Opposition to Motion (Re: 137 MOTION in Limine ) by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 10/05/2009)
     10/06/2009   178     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #162
                          Granted (Re: 162 MOTION TAKE RULE 15 DEPOSITION ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 10/06/2009)
     10/06/2009   179     MOTION Compel Clerk of Court to Comply with 28 U.S.C. Section 1867(f)
                          and Test v. U.S. by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          10/06/2009)
     10/07/2009   180     SEALED ORDER (s−srb, Dpty Clk) (Entered: 10/07/2009) Contains One or
                          More Restricted PDFs
     10/07/2009   181     SEALED MOTION (O'Reilly, Charles) Modified on 6/4/2010 to unseal per
                          Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)
     10/07/2009   182     SEALED DOCUMENT (O'Reilly, Charles) Modified on 6/4/2010 to unseal
                          per Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)
     10/08/2009   183     ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re: 160
                          SEALED MOTION ) (Documents Terminated: 160 SEALED MOTION ) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:

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                          10/08/2009)
     10/08/2009   184     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #166
                          granted (Re: 166 Fourth MOTION for Bill of Particulars ) as to Lindsey Kent
                          Springer (pll, Dpty Clk) (Entered: 10/08/2009)
     10/08/2009   185     RESPONSE in Opposition to Motion (Re: 166 Fourth MOTION for Bill of
                          Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) Modified
                          on 10/9/2009; this document contains two events and that is not allowed with
                          CM/ECF − see 187 for Motion to Accelerate/Extend/Reset
                          Hearings/Deadlines (sac, Dpty Clk). (Entered: 10/08/2009)
     10/08/2009   186     SEALED ORDER (s−srb, Dpty Clk) Modified on 6/4/2010 to unseal per
                          Order # 370 (lml, Dpty Clk). (Entered: 10/08/2009)
     10/08/2009   187     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond)
                          (Re: 166 Fourth MOTION for Bill of Particulars ) by USA as to Lindsey Kent
                          Springer (sac, Dpty Clk) (Entered: 10/09/2009)
     10/09/2009           NOTICE of Docket Entry Modification; Error: this document contains two
                          events and combined documents are not allowed in CM/ECF; Correction:
                          efiled Motion to Accelerate/Extend/Reset Hearings/Deadlines − see 187 (Re:
                          185 Response in Opposition to Motion, ) as to Lindsey Kent Springer (sac,
                          Dpty Clk) (Entered: 10/09/2009)
     10/09/2009   188     RESPONSE in Opposition to Motion (Re: 187 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond) ) by Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 10/09/2009)
     10/09/2009   189     NOTICE with Respect to Court's Order (Dkt#178) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 10/09/2009)
     10/09/2009   190     ERRATA/CORRECTION (Re: 189 Notice (Other) ) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on 10/13/2009
                          to correct title of event (lml, Dpty Clk). (Entered: 10/09/2009)
     10/09/2009   191     SEALED MINUTES (pll, Dpty Clk) (Entered: 10/13/2009) Contains One or
                          More Restricted PDFs
     10/13/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Notice−Other); Correction: Edited docket text to reflect
                          correct event (Errata/Correction to Document) (Re: 190 Notice (Other) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (lml, Dpty Clk) (Entered:
                          10/13/2009)
     10/13/2009   192     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #187
                          Granted in Part, denied in part (Re: 187 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) (to respond), 185 Response in Opposition to Motion,
                          166 Fourth MOTION for Bill of Particulars ) as to Lindsey Kent Springer (pll,
                          Dpty Clk) (Entered: 10/13/2009)
     10/13/2009   193     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #168
                          Granted in part, Denied in part (Re: 168 MOTION Daubert Hearing ) as to
                          Lindsey Kent Springer (pll, Dpty Clk) (Entered: 10/13/2009)
     10/13/2009   194

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                          ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #167,
                          169 Denied (Re: 169 MOTION to Clarify (submitted as part of 167 ), 167
                          MOTION to Reconsider ) as to Lindsey Kent Springer (pll, Dpty Clk)
                          (Entered: 10/13/2009)
     10/13/2009   195     ***Remark: arrest warrant issued for material witness as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 10/14/2009 to
                          unseal docket entry (sjm, Dpty Clk). (Entered: 10/14/2009) Contains One or
                          More Restricted PDFs
     10/14/2009   196     Opposed MOTION ToOrder O'Reilly to Comply with this Court's Order on
                          Rule 15 Deposition and schedule return flight that is reasonable and on
                          Saturday, October 17, 2009, at 3:35 P.M. by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 10/14/2009)
     10/14/2009   197     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #196
                          Denied (Re: 196 Opposed MOTION ToOrder O'Reilly to Comply with this
                          Court's Order on Rule 15 Deposition and schedule return flight that is
                          reasonable and on Saturday, October 17, 2009, at 3:35 P.M. ) as to Lindsey
                          Kent Springer (pll, Dpty Clk) (Entered: 10/14/2009)
     10/14/2009   198     RESPONSE in Opposition to Motion (Re: 179 MOTION Compel Clerk of
                          Court to Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) by USA as
                          to Lindsey Kent Springer (Snoke, Kenneth) Modified on 10/15/2009 to delete
                          "as to" Oscar Stilley since this document is only as to Lindsey Kent Springer
                          (sac, Dpty Clk). (Entered: 10/14/2009)
     10/15/2009           NOTICE of Docket Entry Modification; Error: all defendants were selected as
                          to, but document only pertains to Lindsey Springer; Correction: deleted as to
                          defendant Oscar Stilley (Re: 198 Response in Opposition to Motion, ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sac, Dpty Clk) (Entered:
                          10/15/2009)
     10/16/2009   200     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #179
                          granted with specific limitations (Re: 179 MOTION Compel Clerk of Court to
                          Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) as to Lindsey Kent
                          Springer(djh, Dpty Clk) (Entered: 10/16/2009)
     10/19/2009   201     Second BILL OF PARTICULARS (Re: 184 Order, Ruling on
                          Motion(s)/Document(s), 194 Order, Ruling on Motion(s)/Document(s), 166
                          Fourth MOTION for Bill of Particulars ) by USA as to Lindsey Kent Springer
                          (O'Reilly, Charles) (Entered: 10/19/2009)
     10/20/2009   202     SEALED MOTION (Snoke, Kenneth) Modified on 6/4/2010 to unseal per
                          Order # 370 (lml, Dpty Clk). (Entered: 10/20/2009)
     10/20/2009   203     SEALED ORDER (pll, Dpty Clk) Modified on 6/4/2010 to unseal per Order #
                          370 (lml, Dpty Clk). (Entered: 10/20/2009)
     10/20/2009   204     SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One
                          or More Restricted PDFs
     10/20/2009   205     SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One
                          or More Restricted PDFs
     10/21/2009   207

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                          MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 10/21/2009, Pretrial Conference held on 10/21/2009, ruling
                          on motion(s)/document(s): #137,155 grant in part, deny in part;
                          144,146,147,150,151,159 denied; 148, 204, 205, 206 granted,
                          striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (Re: 204 SEALED MOTION, 145 Second MOTION in Limine,
                          150 Sixth MOTION in Limine, 137 MOTION in Limine, 146 Third MOTION
                          in Limine, 149 MOTION in Limine regarding hearsay and confrontation
                          issues, 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148, 150, and 151]
                          Motions in Limine, for subpoenas pursuant to Rule 17(b), and trial brief filed
                          on 9−21−09), 148 Fifth MOTION in Limine, 159 MOTION Emergency
                          Motion Regarding Denny Patridge, 144 First MOTION in Limine, 205
                          SEALED MOTION, 206 MOTION to Exclude MENTION OF THE
                          TESTIMONY OF VIKKI WIGGINS PRIOR TO A REASONABLE TIME
                          AFTER PRODUCTION OF THE TRANSCRIPT OF HER TESTIMONY,
                          151 Seventh MOTION in Limine, 147 Fourth MOTION in Limine ) (Court
                          Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered: 10/22/2009)
     10/21/2009   208     ***Remark: Deposition Transcript of Vikki Lynn Wiggins received by court as
                          to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          10/22/2009)
     10/24/2009   209     PROPOSED VOIR DIRE by USA as to Lindsey Kent Springer, Oscar Amos
                          Stilley (O'Reilly, Charles) (Entered: 10/24/2009)
     10/26/2009   212     RESPONSE in Opposition to Motion (Re: 210 MOTION to Quash Testimony
                          of Vikki Wiggins ) by USA as to Oscar Amos Stilley (O'Reilly, Charles)
                          Modified on 10/27/2009 to remove Lindsey Kent Springer name from text, as
                          his name should not have been selected, as this pleading does not pertain to
                          him (tjc, Dpty Clk). (Entered: 10/26/2009)
     10/26/2009   213     NOTICE Regarding Defendants' Discovery by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 10/26/2009)
     10/26/2009   214     SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 10/26/2009) Contains
                          One or More Restricted PDFs
     10/26/2009   215     MINUTES of Proceedings − held before Judge Stephen P Friot: Voir
                          Dire/Jury Selection began as to Lindsey Kent Springer, Oscar Amos Stilley
                          (Court Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered: 10/26/2009)
     10/26/2009   216     MINUTES of Proceedings − held before Judge Stephen P Friot: Voir
                          Dire/Jury Selection held on 10/26/2009 as to Lindsey Kent Springer, Oscar
                          Amos Stilley (pll, Dpty Clk) (Entered: 10/26/2009)
     10/26/2009   217     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          began as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                          (Entered: 10/26/2009)
     10/26/2009   218     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held , continued to following day, setting/resetting scheduling order date(s): (
                          Jury Trial set for 10/27/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          10/26/2009)


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     10/26/2009   219     JOINDER (in 210 Motion to Quash filed on 10/24/09) as to Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 10/26/2009)
     10/27/2009   220     ORDER by Judge Stephen P Friot ruling on Government's Oral Motion re:
                          witness Philip Roberts as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) Modified on 10/27/2009 to correct title(pll, Dpty Clk). (Entered:
                          10/27/2009)
     10/27/2009   221     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, ruling on motion(s)/document(s): #210 and 219 denied as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Re: 210 MOTION to Quash Testimony of
                          Vikki Wiggins, 219 JOINDER (in 210 Motion to Quash filed on 10/24/09) )
                          (cds, Dpty Clk) (Entered: 10/27/2009)
     10/28/2009   222     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting deadline(s)/hearing(s): ( Jury Trial set for 10/29/2009 at
                          09:00 AM before Judge Stephen P Friot, Motion Hearing set for 11/3/2009 at
                          05:30 PM before Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (cds, Dpty Clk) (Entered: 10/28/2009)
     10/29/2009   223     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, ruling on motion(s)/document(s): #145 and 149 Denied, setting/resetting
                          scheduling order date(s): ( Jury Trial set for 10/30/2009 at 09:00 AM before
                          Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (Re:
                          145 Second MOTION in Limine, 149 MOTION in Limine regarding hearsay
                          and confrontation issues ) (cds, Dpty Clk) (Entered: 10/30/2009)
     10/30/2009   229     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): ( Jury Trial set for 11/2/2009 at
                          09:00 AM before Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (cds, Dpty Clk) (Entered: 11/03/2009)
     11/01/2009   224     MOTION to Reconsider (Re: 100 Minutes of Motion Hearing,,,,,,,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s) ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) Modified on 11/2/2009 to SEAL pdfs per chambers(sac,
                          Dpty Clk). (Entered: 11/01/2009) Contains One or More Restricted PDFs
     11/02/2009   225     RESPONSE in Opposition to Motion and Motion to Seal Attachments (Re:
                          224 MOTION to Reconsider ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 11/02/2009)
     11/02/2009   226     SEALED ORDER (s−srb, Dpty Clk) (Entered: 11/02/2009) Contains One or
                          More Restricted PDFs
     11/02/2009   230     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): continued to following day (

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                          Jury Trial set for 11/3/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy
                          Washbourne) (pll, Dpty Clk) (Entered: 11/03/2009)
     11/03/2009   227     OBJECTION regarding "gift" as to Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 11/4/2009 to correct event (tjc, Dpty Clk). (Entered:
                          11/03/2009)
     11/03/2009   228     NOTICE re: Proposed Jury Instructions by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) Modified on 11/4/2009 to correct event
                          (tjc, Dpty Clk). (Entered: 11/03/2009)
     11/03/2009   231     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): continued to following day (
                          Jury Trial set for 11/4/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/03/2009)
     11/04/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Proposed Jury Instructions); Correction: Edited docket text to
                          reflect the correct event (Objection) (Re: 227 Proposed Jury Instructions ) as to
                          Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 11/04/2009)
     11/04/2009           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Proposed Jury Instructions); Correction: Edited docket text to
                          reflect the correct event (Notice) (Re: 228 Proposed Jury Instructions ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                          11/04/2009)
     11/04/2009   233     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): (continued to following day) (
                          Jury Trial set for 11/5/2009 at 08:15 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/04/2009)
     11/05/2009   234     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held continued to following Monday, setting/resetting scheduling order date(s):
                          ( Jury Trial set for 11/9/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/05/2009)
     11/05/2009   235     ORDER by Judge Stephen P Friot re: USM and witnesses as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/06/2009)
     11/08/2009   236     PROPOSED JURY INSTRUCTIONS as to Venue, District Director and
                          Materiality as to Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 11/08/2009)
     11/08/2009   237     PROPOSED JURY INSTRUCTIONS as to Venue by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 11/08/2009)
     11/09/2009   239     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held , continued to following day, setting/resetting scheduling order date(s): (
                          Jury Trial set for 11/10/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/09/2009)
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     11/10/2009   240     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): continued to Thursday ( Jury
                          Trial set for 11/12/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/10/2009)
     11/12/2009   241     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): continued to following day (
                          Jury Trial set for 11/13/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/12/2009)
     11/13/2009   242     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          held, setting/resetting scheduling order date(s): continued to following Monday
                          ( Jury Trial set for 11/16/2009 at 09:00 AM before Judge Stephen P Friot) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/13/2009)
     11/16/2009   243     MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          completed, striking/terminating deadline(s)/hearing(s) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne) (With
                          attachments) (pll, Dpty Clk) (Entered: 11/17/2009)
     11/16/2009   244     JURY INSTRUCTIONS by Judge Stephen P Friot as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)
     11/16/2009   245     JURY VERDICT as to Lindsey Kent Springer (1) Guilty on Count
                          1,2,3−4,5−6 and Oscar Amos Stilley (2) Guilty on Count 1,3−4 (pll, Dpty Clk)
                          (Entered: 11/17/2009)
     11/16/2009   246     SEALED EXHIBIT(S) to Order/Minutes (Re: 243 Minutes of Jury Trial
                          Completed, Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk)
                          (Entered: 11/17/2009) Contains One or More Restricted PDFs
     11/17/2009   247     ORDER by Judge Stephen P Friot setting supplemental conditions following
                          trial, ruling re: modification of conditions of pretrial release as to Lindsey
                          Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)
     11/19/2009   248     MOTION Extension to File Motion for New Trial by Lindsey Kent Springer
                          (Springer, Lindsey) Modified on 11/20/2009; This is a two−part motion, see
                          Doc # 249 for second event (tjc, Dpty Clk). (Entered: 11/19/2009)
     11/19/2009   249     MOTION for Judgment of Acquittal (submitted as part of Doc # 248 ) by
                          Lindsey Kent Springer (tjc, Dpty Clk) Modified on 11/20/2009; ENTERED IN
                          ERROR (tjc, Dpty Clk). (Entered: 11/20/2009)
     11/20/2009           NOTICE of Docket Entry Modification; Error: Document # 248 is a two−part
                          motion, but not all parts were filed; Correction: Filed the remaining motion
                          part as Document # 249 (Re: 248 MOTION Extension to File Motion for New
                          Trial ) as to Lindsey Kent Springer (tjc, Dpty Clk) Modified on 11/20/2009;
                          ENTERED IN ERROR (tjc, Dpty Clk). (Entered: 11/20/2009)
     11/20/2009   250     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #248
                          Granted (Re: 248 MOTION Extension to File Motion for New Trial ) as to
                          Lindsey Kent Springer (pll, Dpty Clk) (Entered: 11/20/2009)

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     11/20/2009   252     RESPONSE in Opposition to Motion (Re: 232 JOINDER in Springer's motion
                          for reconsideration, dismissal, or mistrial (in 224 ), 224 MOTION to
                          Reconsider ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley (With
                          attachments) (O'Reilly, Charles) (Entered: 11/20/2009)
     11/30/2009           ***Remark: Petition for writ of mandamus filed at 10th Circuit Court. Case
                          number 09−5165 as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                          11/30/2009)
     12/04/2009   256     ORDER from Circuit Court denying petition for writ of mandamus (Re:
                          Remark ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered: 12/04/2009)
     12/07/2009   257     REPLY to Response to Motion to Dismiss, Mistrial and Reconsider (Re: 224
                          MOTION to Reconsider ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) Modified on 12/10/2009 to seal PDF; Document
                          STRICKEN per Order # 264 (tjc, Dpty Clk). (Entered: 12/07/2009) Contains
                          One or More Restricted PDFs
     12/08/2009   259     MOTION to Strike Document(s) (Re: 257 Reply to Response to Motion, 258
                          Reply to Response to Motion ) by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 12/08/2009)
     12/08/2009   260     MOTION for Judgment of Acquittal by Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 12/10/2009 to seal PDF; Document STRICKEN per
                          Order # 264 (tjc, Dpty Clk). (Entered: 12/08/2009) Contains One or More
                          Restricted PDFs
     12/08/2009   262     MOTION for New Trial by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 12/08/2009)
     12/09/2009   264     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #259
                          Granted, striking/withdrawing document(s) (Re: 259 MOTION to Strike
                          Document(s), 261 MOTION for Judgment of Acquittal and MOTION for New
                          Trial, 257 Reply to Response to Motion, 258 Reply to Response to Motion,
                          260 MOTION for Judgment of Acquittal, 262 MOTION for New Trial )
                          (Documents Terminated: 257 Reply to Response to Motion, 261 MOTION for
                          Judgment of Acquittal and MOTION for New Trial, 258 Reply to Response to
                          Motion, 260 MOTION for Judgment of Acquittal ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 12/09/2009)
     12/10/2009   265     MOTION to Vacate/Set Aside Order dated December 9, 2009, MOTION
                          Reinstate Docket # 257 and # 260 as properly filed under Local Criminal
                          Rules 12.1, MOTION 10 days from date of order to refile docket # 257 and #
                          260 in accordance with Local Civil Rule 7.2 including extended page number
                          therein (Re: 264 Order,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                          Striking/Withdrawing Document(s), Striking/Withdrawing Document(s),
                          Striking/Withdrawing Document(s),,, 257 Reply to Response to Motion, 260
                          MOTION for Judgment of Acquittal ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 12/10/2009)
     12/11/2009   266     RESPONSE in Opposition to Motion (Re: 265 MOTION to Vacate/Set Aside
                          Order dated December 9, 2009 MOTION Reinstate Docket # 257 and # 260 as
                          properly filed under Local Criminal Rules 12.1 MOTION 10 days from date of
                          order to refile docket # 257 and # 260 in accordance with Local Civil Rule 7.2

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                          including extended page number therein ) by USA as to Lindsey Kent Springer
                          (With attachments) (O'Reilly, Charles) (Entered: 12/11/2009)
     12/28/2009   270     AFFIDAVIT of Lindsey K. Springer pursuant to Title 28, Section 144 as to
                          Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                          12/28/2009)
     12/28/2009   271     MOTION Disqualify, Recuse, Removal and for Random Reassignment by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 12/28/2009)
     12/28/2009   272     BRIEF in Support of Motion (Re: 271 MOTION Disqualify, Recuse, Removal
                          and for Random Reassignment ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) (Entered: 12/28/2009)
     12/28/2009   273     MOTION to Strike Document(s) (Re: 266 Response in Opposition to Motion,
                          259 MOTION to Strike Document(s) ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 12/28/2009)
     12/28/2009   274     REPLY to Response to Motion (Re: 265 MOTION to Vacate/Set Aside Order
                          dated December 9, 2009 MOTION Reinstate Docket # 257 and # 260 as
                          properly filed under Local Criminal Rules 12.1 MOTION 10 days from date of
                          order to refile docket # 257 and # 260 in accordance with Local Civil Rule 7.2
                          including extended page number therein ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 12/28/2009)
     12/29/2009   275     SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 12/30/2009) Contains
                          One or More Restricted PDFs
     01/07/2010   276     RESPONSE in Opposition to Motion (Re: 262 MOTION for New Trial ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 01/07/2010)
     01/07/2010   277     RESPONSE in Opposition to Motion (Re: 271 MOTION Disqualify, Recuse,
                          Removal and for Random Reassignment ) by USA as to Lindsey Kent
                          Springer (With attachments) (O'Reilly, Charles) (Entered: 01/07/2010)
     01/20/2010   279     MOTION for Leave to Exceed Page Limitation in Reply Regarding Springer's
                          Motion for New Trial, by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          01/20/2010)
     01/20/2010   280     MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue (Re: 2
                          Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          01/20/2010)
     01/20/2010   281     BRIEF in Support of Motion (Re: 280 MOTION to Dismiss Count(s) ONE for
                          lack of Article III Subject Matter Jurisdiction, Article III Jurisdiction of the
                          Facts and Article III Venue ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) (Entered: 01/20/2010)
     01/20/2010   282     MOTION to Dismiss Count(s) Two, Three, Four, Five and Six for Lack of
                          Article III Subject Matter Jurisdiction, Article III Jurisdiction of the Facts and
                          Article III Venue (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 01/20/2010)
     01/20/2010   283     BRIEF in Support of Motion (Re: 282 MOTION to Dismiss Count(s) Two,
                          Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,

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                          Article III Jurisdiction of the Facts and Article III Venue ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 01/20/2010)
     01/20/2010   284     MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in support thereof (Re: 2 Indictment ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 01/20/2010)
     01/21/2010   285     MOTION to Strike Document(s) 276 and 277 (Re: 277 Response in
                          Opposition to Motion, 276 Response in Opposition to Motion ) by Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 01/21/2010)
     01/21/2010   286     REPLY to Response to Motion (Re: 271 MOTION Disqualify, Recuse,
                          Removal and for Random Reassignment ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 01/21/2010)
     01/21/2010   287     REPLY (Re: 270 Affidavit ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 01/21/2010)
     01/21/2010   288     REPLY to Response to Motion (Re: 262 MOTION for New Trial ) by Lindsey
                          Kent Springer (With attachments) (Springer, Lindsey) (Entered: 01/21/2010)
     01/22/2010   289     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #279
                          Granted (Re: 279 MOTION for Leave to Exceed Page Limitation in Reply
                          Regarding Springer's Motion for New Trial,, 262 MOTION for New Trial ) as
                          to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 01/22/2010)
     01/22/2010   290     SCHEDULING ORDER by Judge Stephen P Friot, setting/resetting
                          deadline(s)/hearing(s): ( Sentencing set for 4/19/2010 at 10:00 AM before
                          Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 01/22/2010)
     01/25/2010   291     ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Sentencing set for 4/21/2010 at 10:00 AM before Judge Stephen P Friot) (Re:
                          290 Scheduling Order, Setting/Resetting Deadline(s)/Hearing(s) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          01/25/2010)
     01/27/2010   292     RESPONSE in Opposition to Motion (Re: 282 MOTION to Dismiss Count(s)
                          Two, Three, Four, Five and Six for Lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 280
                          MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 285
                          MOTION to Strike Document(s) 276 and 277, 284 MOTION to Dismiss
                          Indictment/Information/Complaint for lack of Article III Standing of United
                          States of America, (2) lack of Article III Case or Controversy, (3) for violation
                          of Title 28, United States Code, Section 547, and accompanying brief in
                          MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in ) by USA as to Lindsey Kent Springer (Snoke, Kenneth)
                          (Entered: 01/27/2010)
     01/28/2010   293

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                          OPINION AND ORDER by Judge Stephen P Friot, ruling on
                          motion(s)/document(s): #224,232,262,265,267,271,273,285 Denied (Re: 265
                          MOTION to Vacate/Set Aside Order dated December 9, 2009 MOTION
                          Reinstate Docket # 257 and # 260 as properly filed under Local Criminal
                          Rules 12.1 MOTION 10 days from date of order to refile docket # 257 and #
                          260 in accordance with Local Civil Rule 7.2 including extended page number
                          therein, 267 MOTION to Reconsider, 232 JOINDER in Springer's motion for
                          reconsideration, dismissal, or mistrial (in 224 ), 262 MOTION for New Trial,
                          224 MOTION to Reconsider, 273 MOTION to Strike Document(s), 271
                          MOTION Disqualify, Recuse, Removal and for Random Reassignment, 285
                          MOTION to Strike Document(s) 276 and 277 ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 01/28/2010)
     02/01/2010   295     MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six regarding
                          regulations not in compliance with APA (Re: 2 Indictment ) by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) (Entered: 02/01/2010)
     02/03/2010   299     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #296
                          denied (Re: 296 MOTION to Modify Conditions of Pretrial Release ) as to
                          Oscar Amos Stilley (sjm, Dpty Clk) Modified on 2/4/2010 to remove Lindsey
                          Kent Springer from text (lml, Dpty Clk). (Entered: 02/03/2010)
     02/04/2010   302     RESPONSE in Opposition to Motion (Re: 295 MOTION to Dismiss Count(s)
                          One, Two, Three, Four, Five and Six regarding regulations not in compliance
                          with APA ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          02/04/2010)
     02/05/2010   303     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s), Monthly
                          MOTION Stay pending ruling from Supreme Court in 09−8701 and brief by
                          Lindsey Kent Springer (With attachments) (Springer, Lindsey) Modified on
                          2/11/2010 to seal pdf as this document is STRICKEN per 307 (sac, Dpty Clk).
                          (Entered: 02/05/2010) Contains One or More Restricted PDFs
     02/08/2010   304     MOTION to Strike Document(s) (Re: 303 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s)Monthly MOTION Stay
                          pending ruling from Supreme Court in 09−8701 and brief ) by USA as to
                          Lindsey Kent Springer (O'Reilly, Charles) Modified on 2/11/2010 to seal pdf
                          as this document is STRICKEN per 307 (sac, Dpty Clk). (Entered:
                          02/08/2010) Contains One or More Restricted PDFs
     02/08/2010   305     MOTION to Withdraw Document(s) (Re: 303 MOTION to
                          Accelerate/Extend/Reset Hearings/Deadlines) as to Lindsey Kent Springer
                          (Springer, Lindsey) Modified on 2/9/2010 to correct title of event (lml, Dpty
                          Clk). (Entered: 02/08/2010)
     02/08/2010   306     MOTION Stay all Orders by Judge Friot pending determination by Surpeme
                          Court in 09−8701 by Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 02/08/2010)
     02/09/2010           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Notice); Correction: Edited docket text to reflect correct event
                          (Motion to Withdraw Documents) (Re: 305 MOTION to Withdraw
                          Document(s) ) as to Lindsey Kent Springer (lml, Dpty Clk) (Entered:
                          02/09/2010)

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     02/10/2010   307     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #303
                          Stricken as Moot; #304 Stricken as Moot; #305 Granted, striking/withdrawing
                          document(s) (Re: 304 MOTION to Strike Document(s), 305 MOTION to
                          Withdraw Document(s), 303 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s)Monthly MOTION Stay pending ruling from Supreme
                          Court in 09−8701 and brief ) (Documents Terminated: 303 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s)Monthly MOTION Stay
                          pending ruling from Supreme Court in 09−8701 and brief, 305 MOTION to
                          Withdraw Document(s), 304 MOTION to Strike Document(s) ) as to Lindsey
                          Kent Springer (djh, Dpty Clk) (Entered: 02/10/2010)
     02/10/2010   308     REPLY to Response to Motion (Re: 282 MOTION to Dismiss Count(s) Two,
                          Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                          Article III Jurisdiction of the Facts and Article III Venue, 280 MOTION to
                          Dismiss Count(s) ONE for lack of Article III Subject Matter Jurisdiction,
                          Article III Jurisdiction of the Facts and Article III Venue, 284 MOTION to
                          Dismiss Indictment/Information/Complaint for lack of Article III Standing of
                          United States of America, (2) lack of Article III Case or Controversy, (3) for
                          violation of Title 28, United States Code, Section 547, and accompanying brief
                          in MOTION to Dismiss Indictment/Information/Complaint for lack of Article
                          III Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 02/10/2010)
     02/12/2010   310     RESPONSE in Opposition to Motion (Re: 306 MOTION Stay all Orders by
                          Judge Friot pending determination by Surpeme Court in 09−8701, 309
                          JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay..., Reply
                          filed on 2/1/10, 2/8/10, 2/10/10) ) by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 02/12/2010)
     02/18/2010   311     REPLY to Response to Motion (Re: 295 MOTION to Dismiss Count(s) One,
                          Two, Three, Four, Five and Six regarding regulations not in compliance with
                          APA ) by Lindsey Kent Springer (Springer, Lindsey) (Entered: 02/18/2010)
     02/22/2010   312     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #280,
                          282, 284, 306 Denied, #309 Granted (Re: 282 MOTION to Dismiss Count(s)
                          Two, Three, Four, Five and Six for Lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 306
                          MOTION Stay all Orders by Judge Friot pending determination by Surpeme
                          Court in 09−8701, 280 MOTION to Dismiss Count(s) ONE for lack of Article
                          III Subject Matter Jurisdiction, Article III Jurisdiction of the Facts and Article
                          III Venue, 309 JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for
                          Stay..., Reply filed on 2/1/10, 2/8/10, 2/10/10), 284 MOTION to Dismiss
                          Indictment/Information/Complaint for lack of Article III Standing of United
                          States of America, (2) lack of Article III Case or Controversy, (3) for violation
                          of Title 28, United States Code, Section 547, and accompanying brief in
                          MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 02/22/2010)


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     02/23/2010   313     ORDER by Judge Stephen P Friot re: consideration of non−standard
                          conditions of supervised release as to Lindsey Kent Springer, Oscar Amos
                          Stilley (pll, Dpty Clk) (Entered: 02/23/2010)
     02/25/2010   314     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #295
                          Denied (Re: 295 MOTION to Dismiss Count(s) One, Two, Three, Four, Five
                          and Six regarding regulations not in compliance with APA ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 02/25/2010)
     03/16/2010   315     SEALED DOCUMENT (O'Reilly, Charles) (Entered: 03/16/2010) Contains
                          One or More Restricted PDFs
     03/25/2010   316     ORDER by Judge Stephen P Friot, ruling re: modification of conditions of
                          pretrial release as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty
                          Clk) Modified on 3/25/2010 to add PDF (pll, Dpty Clk). (Entered: 03/25/2010)
     03/25/2010   317     NOTICE of Docket Entry Modification; Error: Document not attached;
                          Correction: Attached document and included here (Re: 316 Order, Ruling Re:
                          Modification of Conditions of Pretrial Release ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/25/2010)
     03/30/2010   318     NOTICE Regarding Defendants' Reference to Variance in Objections to PSIR
                          by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 03/30/2010)
     03/30/2010   319     EXHIBIT LIST and Witness List for Sentencing by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          03/30/2010)
     03/30/2010   321     SENTENCING MEMORANDUM as to Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 03/31/2010)
     04/04/2010   322     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of
                          Sentencing (Re: 290 Scheduling Order, Setting/Resetting
                          Deadline(s)/Hearing(s), 291 Order,, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s),, ) by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 04/04/2010)
     04/05/2010   323     RESPONSE in Opposition to Motion (Re: 322 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of Sentencing
                          MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of
                          Sentencing ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                          (Entered: 04/05/2010)
     04/05/2010   324     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #322
                          denied (Re: 322 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                          Continuance of Sentencing MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) Continuance of Sentencing ) as to Lindsey Kent
                          Springer (hbo, Dpty Clk) (Entered: 04/05/2010)
     04/06/2010   325     EXHIBIT LIST as to Lindsey Kent Springer (Springer, Lindsey) Modified on
                          4/7/2010; This is a multi−event document, see Document # 327 for second
                          event (tjc, Dpty Clk). (Entered: 04/06/2010)
     04/06/2010   327     WITNESS LIST (submitted as part of Doc # 325 ) as to Lindsey Kent
                          Springer (tjc, Dpty Clk) (Entered: 04/07/2010)

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     04/07/2010           NOTICE of Docket Entry Modification; Error: This is a multi−event
                          document, which is not allowed in CM/ECF; Correction: Filed the remaining
                          event (Witness List) as Document # 327 (Re: 325 Exhibit List ) as to Lindsey
                          Kent Springer (tjc, Dpty Clk) (Entered: 04/07/2010)
     04/09/2010   331     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #326
                          Denied (Re: 326 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                          to continue sentencing until proper notice has been given ) as to Oscar Amos
                          Stilley Modified on 4/23/2010 to show Oscar Amos Stilley as single filer(cds,
                          Dpty Clk). (Entered: 04/09/2010)
     04/09/2010   332     REPLY (Re: 321 Sentencing Memorandum ) by USA as to Lindsey Kent
                          Springer (O'Reilly, Charles) (Entered: 04/09/2010)
     04/16/2010   333     SEALED DOCUMENT (O'Reilly, Charles) (Entered: 04/16/2010) Contains
                          One or More Restricted PDFs
     04/23/2010   336     MINUTES of Proceedings − held before Judge Stephen P Friot: Sentencing
                          held on 4/23/2010, striking/terminating deadline(s)/hearing(s) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne) (With
                          attachments) (pll, Dpty Clk) (Entered: 04/28/2010)
     04/23/2010   339     MOTION for Stay of Execution of Sentence, MOTION for Release Pending
                          Appeal by Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)
     04/23/2010   340     NOTICE OF APPEAL to Circuit Court (Re: 337 Judgment and Commitment,
                          Entering Judgment ) as to Lindsey Kent Springer (s−srl, Dpty Clk) (Entered:
                          04/29/2010)
     04/23/2010   341     APPEAL FEES Paid in Full (Re: 340 Notice of Appeal to Circuit Court ) by
                          Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)
     04/23/2010           ***Remark: appeal forms given (Re: 340 Notice of Appeal to Circuit Court )
                          as to Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)
     04/27/2010   334     ORDER by Judge Stephen P Friot entered without prejudice to the right of
                          standby counsel to apply for compensation for their services, terminating
                          attorney Charles Robert Burton, IV and Robert Scott Williams as to Lindsey
                          Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered: 04/27/2010)
     04/27/2010   335     ***Remark: Order [Dkt. #334] mailed to each defendant c/o David L. Moss
                          Correctional Center, 300 N. Denver Ave., Tulsa, OK 74103 (Re: 334 Order,,
                          Adding/Terminating Attorney(s), Adding/Terminating Attorney(s) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered:
                          04/27/2010)
     04/28/2010   337     JUDGMENT AND COMMITMENT by Judge Stephen P Friot, entering
                          judgment as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/28/2010)
     04/29/2010   342     PRELIMINARY RECORD Sent to Circuit Court (Re: 340 Notice of Appeal to
                          Circuit Court ) as to Lindsey Kent Springer (With attachments) (s−srl, Dpty
                          Clk) (Entered: 04/29/2010)
     04/29/2010   343     MOTION Transcript at Public Expense by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 04/29/2010)
     04/29/2010   344
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                          APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 10−5055 (#340) (Re: 340 Notice of Appeal to Circuit Court ) as to
                          Lindsey Kent Springer (sam, Dpty Clk) (Entered: 04/29/2010)
     04/30/2010   345     MOTION Amended Request For Stay of Execution of Sentence and
                          Judgement and Appeal Bond Pending Appeal (Re: 337 Judgment and
                          Commitment, Entering Judgment ) by Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 5/3/2010 to seal PDF; Document STRICKEN per Order
                          # 352 (tjc, Dpty Clk). (Entered: 04/30/2010) Contains One or More Restricted
                          PDFs
     04/30/2010   346     ORDER by Judge Stephen P Friot re: mailing addresses as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/30/2010)
     04/30/2010   347     MOTION to Strike Document(s) (Re: 345 MOTION Amended Request For
                          Stay of Execution of Sentence and Judgement and Appeal Bond Pending
                          Appeal ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          04/30/2010)
     04/30/2010   350     RESPONSE in Support of Motion (Re: 343 MOTION Transcript at Public
                          Expense ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          04/30/2010)
     04/30/2010   351     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #343
                          Granted (Re: 343 MOTION Transcript at Public Expense ) as to Lindsey Kent
                          Springer (pll, Dpty Clk) (Entered: 04/30/2010)
     04/30/2010   352     ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re: 345
                          MOTION Amended Request For Stay of Execution of Sentence and
                          Judgement and Appeal Bond Pending Appeal ) (Documents Terminated: 345
                          MOTION Amended Request For Stay of Execution of Sentence and
                          Judgement and Appeal Bond Pending Appeal ) as to Lindsey Kent Springer
                          (pll, Dpty Clk) (Entered: 04/30/2010)
     04/30/2010   354     MOTION for Leave to Exceed Page Limitation For Leave by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) (Entered: 04/30/2010)
     05/03/2010   356     RESPONSE in Opposition to Motion (Re: 354 MOTION for Leave to Exceed
                          Page Limitation For Leave ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 05/03/2010)
     05/03/2010   357     RESPONSE (Re: 339 MOTION for Stay of Execution of Sentence MOTION
                          for Release Pending Appeal ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 05/03/2010)
     05/03/2010   358     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #354
                          Granted (Re: 354 MOTION for Leave to Exceed Page Limitation For Leave,
                          345 MOTION Amended Request For Stay of Execution of Sentence and
                          Judgement and Appeal Bond Pending Appeal ) as to Lindsey Kent Springer
                          (pll, Dpty Clk) (Entered: 05/03/2010)
     05/03/2010   359     MOTION For Stay Of Judgement (Re: 339 MOTION for Stay of Execution of
                          Sentence MOTION for Release Pending Appeal ) by Lindsey Kent Springer
                          (Springer, Lindsey) Modified on 5/4/2010; this is a two−part motion of which
                          only one part was efiled − see 360 for Motion for Release Pending Appeal
                          (sac, Dpty Clk). (Entered: 05/03/2010)
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     05/03/2010   360     MOTION for Release Pending Appeal (submitted as part of 359 ) by Lindsey
                          Kent Springer (sac, Dpty Clk) (Entered: 05/04/2010)
     05/04/2010           NOTICE of Docket Entry Modification; Error: this is a two−part motion of
                          which only one part was efiled; Correction: efiled second part of motion − see
                          360 (Re: 359 MOTION for Stay Of Judgement ) as to Lindsey Kent Springer
                          (sac, Dpty Clk) (Entered: 05/04/2010)
     05/06/2010   361     RESPONSE in Opposition to Motion (Re: 359 MOTION for Stay Of
                          Judgement ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                          (Entered: 05/06/2010)
     05/06/2010   362     ORDER from Circuit Court partially consolidating appeals (Re: 348 Notice of
                          Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) (Entered: 05/06/2010)
     05/07/2010   363     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #359,
                          360 Denied (Re: 360 MOTION for Release Pending Appeal (submitted as part
                          of 359 ), 359 MOTION for Stay Of Judgement ) as to Lindsey Kent Springer
                          (pll, Dpty Clk) (Entered: 05/07/2010)
     05/09/2010   364     MOTION For Delivery of Filed Documents by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 05/09/2010)
     05/24/2010   365     TRANSCRIPT ORDER FORM as to Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) Modified on 5/25/2010 to seal the pdf as it is
                          not fully executed and should have been submitted to the court reporter (sac,
                          Dpty Clk). (Entered: 05/24/2010) Contains One or More Restricted PDFs
     05/25/2010           NOTICE of Docket Entry Modification; Error: this document should have
                          been submitted to the court reporter; Correction: notified Lindsey Springer that
                          this document must first be submitted to the court reporter and that the court
                          reporter will file it of record once it is fully executed (Re: 365 Transcript
                          Order Form ) as to Lindsey Kent Springer (sac, Dpty Clk) (Entered:
                          05/25/2010)
     05/28/2010   366     MOTION to Unseal Document(s) (Re: 203 Sealed Order, 186 Sealed Order,
                          181 SEALED MOTION, 182 Sealed Document, 202 SEALED MOTION ) by
                          USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 05/28/2010)
     06/01/2010   367     DESIGNATION of Record on Appeal (Re: 340 Notice of Appeal to Circuit
                          Court ) as to Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                          (Entered: 06/01/2010)
     06/01/2010   368     MOTION to Reconsider Release Pending Appeal (Re: 363 Order, Ruling on
                          Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer, Lindsey)
                          Modified on 6/2/2010; This is two−part motion, see Doc # 369 for second
                          event (tjc, Dpty Clk). (Entered: 06/01/2010)
     06/01/2010   369     MOTION for Hearing (submitted as part of Doc # 368 ) by Lindsey Kent
                          Springer (tjc, Dpty Clk) (Entered: 06/02/2010)
     06/02/2010           NOTICE of Docket Entry Modification; Error: Document # 368 is a two−part
                          motion, but not all parts were filed; Correction: Filed the remaining motion
                          part as Document # 369 (Re: 368 MOTION to Reconsider Release Pending

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                          Appeal ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 06/02/2010)
     06/03/2010   370     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #366
                          Granted, unsealing document(s) (Re: 366 MOTION to Unseal Document(s),
                          182 Sealed Document, 186 Sealed Order, 203 Sealed Order, 181 SEALED
                          MOTION, 202 SEALED MOTION ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (pll, Dpty Clk) (Entered: 06/03/2010)
     06/04/2010   371     Amended MOTION to Reconsider Re: 369 MOTION for Hearing (submitted
                          as part of Doc # 368 ), 368 MOTION to Reconsider Release Pending Appeal )
                          by Lindsey Kent Springer (Springer, Lindsey) Modified on 6/7/2010 to correct
                          event; also this is two−part motion, see Document # 372 for second event (tjc,
                          Dpty Clk). (Entered: 06/04/2010)
     06/04/2010   372     Amended MOTION for Hearing re: Evidentiary (submitted as part of Doc #
                          371 ) by Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 06/07/2010)
     06/07/2010           NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion to Amend) and Document # 371 is a two−part motion,
                          but not all parts were filed; Correction: Edited docket text to reflect the correct
                          event and filed the remaining motion part as Document # 372 (Re: 371
                          MOTION to Reconsider ) as to Lindsey Kent Springer (tjc, Dpty Clk)
                          (Entered: 06/07/2010)
     06/08/2010   373     MOTION to Withdraw Attorney(s) Kenneth P. Snoke by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 06/08/2010)
     06/08/2010   374     ORDER by Judge Stephen P Friot, terminating attorney Kenneth P Snoke,
                          ruling on motion(s)/document(s): #373 Granted (Re: 373 MOTION to
                          Withdraw Attorney(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 06/08/2010)
     06/08/2010   375     RESPONSE in Opposition to Motion (Re: 371 MOTION to Reconsider, 368
                          MOTION to Reconsider Release Pending Appeal ) by USA as to Lindsey Kent
                          Springer (O'Reilly, Charles) (Entered: 06/08/2010)
     06/08/2010   376     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #364
                          moot (Re: 364 MOTION For Delivery of Filed Documents ) as to Lindsey
                          Kent Springer (pll, Dpty Clk) (Entered: 06/08/2010)
     06/08/2010   377     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #368,
                          369, 371, 372 Denied (Re: 369 MOTION for Hearing (submitted as part of
                          Doc # 368 ), 371 MOTION to Reconsider, 372 Amended MOTION for
                          Hearing re: Evidentiary (submitted as part of Doc # 371 ), 368 MOTION to
                          Reconsider Release Pending Appeal ) as to Lindsey Kent Springer (pll, Dpty
                          Clk) (Entered: 06/08/2010)
     06/09/2010   378     TRANSCRIPT ORDER FORM (Transcripts ordered from Tracy Washbourne)
                          (Re: 340 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer
                          (s−srl, Dpty Clk) (Entered: 06/09/2010)
     06/10/2010   379     MINUTE ORDER by Court Clerk, directing Jerold W. Barringer to file by
                          July 1, 2010 a Motion for Admission Pro Hac Vice per Local Civil Rule 83.2.
                          Additionally, if you intend to practice in this district in the future and want to
                          become a member of this district, please submit an application for attorney
                          admission. as to Lindsey Kent Springer, Oscar Amos Stilley (lal, Dpty Clk)
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                          (Entered: 06/10/2010)
     06/16/2010   380     Supplemental CERTIFICATE of Service Due to Returned Mail (Re: 375
                          Response in Opposition to Motion, 373 MOTION to Withdraw Attorney(s),
                          366 MOTION to Unseal Document(s) ) by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) (Entered: 06/16/2010)
     06/16/2010           MAIL to Oscar Amos Stilley, David L. Moss Criminal Justice Center, 300 N
                          Denver, Tulsa, OK 74103 Returned − marked Return to Sender − not in
                          custody. Remailed on 06/17/10 to FCI Forrest City Low, PO Box 9000,
                          Forrest City, AR 72336 − New address obtained from BOP Website. (Re: 376
                          Order, Ruling on Motion(s)/Document(s), 377 Order,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), 374 Order,
                          Adding/Terminating Attorney(s), Ruling on Motion(s)/Document(s) ) as to
                          Oscar Amos Stilley (sdc, Dpty Clk) Modified on 6/18/2010 to remove
                          additional Defendant (sdc, Dpty Clk). (Entered: 06/17/2010)
     07/07/2010   381     ORDER by Judge Stephen P Friot − Certificate pursuant to 18 USC
                          3006A(d)(3) re: CJA voucher as to Lindsey Kent Springer (pll, Dpty Clk)
                          (Entered: 07/07/2010)
     07/12/2010   382     TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                          04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 132). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal 43 Minutes of Motion
                          Hearing, Minutes of Scheduling Conference, Ruling on
                          Motion(s)/Document(s), Taking Motion(s) Under Advisement,
                          Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (sam, Dpty Clk). Modified on 7/13/2010 to create link to 340
                          (sac, Dpty Clk). Modified on 10/14/2010 to remove transcript access
                          restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   383     TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                          07/02/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 159). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 100
                          Minutes of Motion Hearing, Ruling on Motion(s)/Document(s),
                          Striking/Terminating Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                          transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   384     TRANSCRIPT of Proceedings (Unredacted) of Pretrial Hearing held on
                          10/21/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 139). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
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                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 207
                          Minutes of Motion Hearing, Minutes of Pretrial Conference, Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   385     TRANSCRIPT of Proceedings (Unredacted) of Voir Dire and Jury Trial held
                          on 10/26/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                          Washbourne)(Pages: 1 to 242)(Re: 217 Minutes of Jury Trial Begun, 340
                          Notice of Appeal to Circuit Court, 218 Minutes of Jury Trial Held,
                          Setting/Resetting Scheduling Order Date(s), 216 Minutes of Voir Dire/Jury
                          Selection Held) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty
                          Clk)(See Court Clerk to view this transcript) Modified on 7/13/2010 to include
                          that Voir Dire is included in this transcript (sac, Dpty Clk). (Entered:
                          07/12/2010) Contains One or More Restricted PDFs
     07/12/2010   386     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/27/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 243
                          to 515). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 221
                          Minutes of Jury Trial Held, Ruling on Motion(s)/Document(s)) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   387     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/28/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 516
                          to 640). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 222 Minutes of Jury Trial Held, Setting/Resetting
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   388     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/29/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 641
                          to 880). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically

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                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 223
                          Minutes of Jury Trial Held, Ruling on Motion(s)/Document(s),
                          Setting/Resetting Scheduling Order Date(s)) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                          transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   389     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/30/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 881
                          to 1130). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 229 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s) 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   390     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/02/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1131 to 1327). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 230 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   391     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/03/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1328 to 1608). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 231
                          Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   392     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/04/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1609 to 1934). NOTICE RE REDACTION OF TRANSCRIPTS: A party must

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                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 233 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   393     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/05/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1935 to 2202). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 234
                          Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   394     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/09/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2203 to 2454). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 239 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   395     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/10/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2455 to 2669). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 240 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)


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     07/12/2010   396     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/12/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2670 to 2949). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 241 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   397     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/13/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2950 to 3056). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 242
                          Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
     07/12/2010   398     TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/16/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          3057 to 3090). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 243
                          Minutes of Jury Trial Completed, Striking/Terminating
                          Deadline(s)/Hearing(s)) as to Lindsey Kent Springer, Oscar Amos Stilley
                          (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript access
                          restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   399     TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on 04/21/2010
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 1
                          to 210). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
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                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   400     TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on 04/22/2010
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 211
                          to 390). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   401     TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on 04/23/2010
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 391
                          to 469). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy
                          from the court reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                          to remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/13/2010   402     MOTION for Writ of Error Coram Nobis by Lindsey Kent Springer (s−srt,
                          Dpty Clk) (Entered: 07/14/2010)
     07/13/2010   403     MOTION for Appointment of Counsel Regarding Motion for Writ of Error
                          Coram Nobis by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                          07/14/2010)
     07/13/2010   404     BRIEF in Support of Motion (Re: 402 MOTION for Writ of Error Coram
                          Nobis ) by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)
     07/13/2010   405     MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer
                          (s−srt, Dpty Clk) (Entered: 07/14/2010)
     07/13/2010   406     AFFIDAVIT of Lindsey Kent Springer (titled "Declaration") as to Lindsey
                          Kent Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)
     07/13/2010   407     CERTIFICATE of Service (Re: 405 MOTION for Leave to Exceed Page
                          Limitation, 402 MOTION for Writ of Error Coram Nobis, 404 Brief in
                          Support of Motion, 403 MOTION for Appointment of Counsel Regarding
                          Motion for Writ of Error Coram Nobis, 406 Affidavit ) as to Lindsey Kent
                          Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)
     07/15/2010           MAIL to Oscar Amos Stilley, David L. Moss Criminal Justic Center, 300 N
                          Denver, Tulsa OK 74103 Returned − marked return to sender − not in custody.
                          Remailed on 7/15/10 − FCI Forrest City Low, PO Box 9000, Forrest City, AR
                          72336. (Re: 379 Order, Directing Attorney to File PHV Motion,, ) as to Oscar
                          Amos Stilley (sdc, Dpty Clk) Modified on 7/16/2010 ro remove reference to

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                          Lindsey Springer (sdc, Dpty Clk). (Entered: 07/15/2010)
     07/16/2010   408     MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer
                          (sdc, Dpty Clk) (Entered: 07/16/2010)
     07/16/2010   409     Second BRIEF in Support of Motion (Re: 402 MOTION for Writ of Error
                          Coram Nobis ) by Lindsey Kent Springer (With attachments) (sdc, Dpty Clk)
                          (Entered: 07/16/2010)
     07/16/2010   410     CERTIFICATE of Service (Re: 408 MOTION for Leave to Exceed Page
                          Limitation, 409 Brief in Support of Motion ) as to Lindsey Kent Springer (sdc,
                          Dpty Clk) (Entered: 07/16/2010)
     07/16/2010   411     RESPONSE in Opposition to Motion (Re: 405 MOTION for Leave to Exceed
                          Page Limitation, 402 MOTION for Writ of Error Coram Nobis, 403 MOTION
                          for Appointment of Counsel Regarding Motion for Writ of Error Coram
                          Nobis, 408 MOTION for Leave to Exceed Page Limitation ) by USA as to
                          Lindsey Kent Springer (O'Reilly, Charles) (Entered: 07/16/2010)
     07/26/2010   412     RECORD on Appeal Sent to Circuit Court (Record includes: 4 volumes) (Re:
                          348 Notice of Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (With attachments) (s−srt,
                          Dpty Clk) (Entered: 07/26/2010)
     07/29/2010   413     NOTICE of Change of Address by Lindsey Kent Springer, Lindsey K Springer
                          as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 07/29/2010)
     07/29/2010   414     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof
                          transcripts by Lindsey Kent Springer (s−srt, Dpty Clk) Modified on
                          11/9/2010; Document STRICKEN per Order # 427 (tjc, Dpty Clk). (Entered:
                          07/29/2010)
     07/29/2010   415     REPLY to Response to Motion (Re: 402 MOTION for Writ of Error Coram
                          Nobis ) by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 07/29/2010)
     08/11/2010   416     MOTION for Release, MOTION for Stay of Judgment Pending Ruling on
                          Motion for Writ of Coram Nobis, MOTION for Hearing by Lindsey Kent
                          Springer (s−srt, Dpty Clk) (Entered: 08/13/2010)
     08/13/2010   417     ***Remark: Petition for writ of mandamus filed at 10th Circuit Court. Case
                          number 10−5101 as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                          08/16/2010)
     08/30/2010   419     RESPONSE in Opposition to Motion (Re: 416 MOTION for Release
                          MOTION for Stay of Judgment Pending Ruling on Motion for Writ of Coram
                          Nobis MOTION for Hearing ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 08/30/2010)
     08/31/2010           ***Remark: rec'd 10th Circuit Entry of Appearance, Motion for Informa
                          Pauperis, and Petition for Writ of Error Coram Nobis of Mandamas −
                          forwarded to 10th Circuit as to Lindsey Kent Springer (s−srt, Dpty Clk)
                          (Entered: 08/31/2010)
     09/09/2010   420     REPLY to Response to Motion (Re: 416 MOTION for Release MOTION for
                          Stay of Judgment Pending Ruling on Motion for Writ of Coram Nobis
                          MOTION for Hearing ) by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:

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                          09/09/2010)
     09/09/2010   421     ATTORNEY APPEARANCE by Jeffrey Andrew Gallant on behalf of USA
                          (Gallant, Jeffrey) (Entered: 09/09/2010)
     09/13/2010   422     TRANSCRIPT of Proceedings (Unredacted) of Miscellaneous Hearing held on
                          03/30/2009 before Magistrate Judge Paul J Cleary (Court Reporter: Tracy
                          Washbourne) (Pages: 1−36). NOTICE RE REDACTION OF
                          TRANSCRIPTS: A party must file a Transcript Redaction Request within 21
                          calendar days. If a party fails to request redaction, this unredacted transcript
                          may be made electronically available to the public without redaction after 90
                          calendar days. Any party needing a copy of the transcript to review for
                          redaction purposes may view the transcript at the court public terminal at no
                          charge or may purchase a copy from the court reporter. (Re: 23 Minutes of
                          Miscellaneous Hearing, Ruling on Motion(s)/Document(s),
                          Striking/Terminating Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (sam, Dpty Clk) Modified on 12/20/2010 to remove
                          transcript access restriction (a−hc, Dpty Clk). (Entered: 09/13/2010)
     10/22/2010   423     ORDER from Circuit Court denying petition for writ of mandamus (Re: 417
                          Remark ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered: 10/25/2010)
     11/01/2010   424     MOTION for Release Pending Appeal, MOTION to Reconsider (Re: 377
                          Order,, Ruling on Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                          363 Order, Ruling on Motion(s)/Document(s) ) by Lindsey Kent Springer
                          (s−srt, Dpty Clk) Modified on 11/3/2010−STRICKEN PER ORDER # 426
                          (lml, Dpty Clk). (Entered: 11/01/2010)
     11/01/2010   425     BRIEF in Support of Motion (Re: 424 MOTION for Release Pending Appeal
                          MOTION to Reconsider ) by Lindsey Kent Springer (s−srt, Dpty Clk)
                          Modified on 11/3/2010−STRICKEN PER ORDER # 426 (lml, Dpty Clk).
                          (Main Document 425 replaced on 2/11/2011) (lml, Dpty Clk). (Entered:
                          11/01/2010)
     11/02/2010   426     ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re: 425
                          Brief in Support of Motion, 424 MOTION for Release Pending Appeal
                          MOTION to Reconsider, 377 Order,, Ruling on Motion(s)/Document(s),
                          Ruling on Motion(s)/Document(s), 363 Order, Ruling on
                          Motion(s)/Document(s) ) (Documents Terminated: 424 MOTION for Release
                          Pending Appeal MOTION to Reconsider, 425 Brief in Support of Motion ) as
                          to Lindsey Kent Springer (cds, Dpty Clk) (Entered: 11/02/2010)
     11/08/2010   427     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #405,
                          408 granted, #402, 403, 416 denied, striking/withdrawing document(s) (Re:
                          405 MOTION for Leave to Exceed Page Limitation, 402 MOTION for Writ of
                          Error Coram Nobis, 403 MOTION for Appointment of Counsel Regarding
                          Motion for Writ of Error Coram Nobis, 408 MOTION for Leave to Exceed
                          Page Limitation, 416 MOTION for Release MOTION for Stay of Judgment
                          Pending Ruling on Motion for Writ of Coram Nobis MOTION for Hearing,
                          414 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof
                          transcripts, 409 Brief in Support of Motion ) (Documents Terminated: 414
                          MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof
                          transcripts ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 11/08/2010)
     11/17/2010   428
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                          NOTICE OF APPEAL to Circuit Court (Re: 426 Order, Striking/Withdrawing
                          Document(s),,, Striking/Withdrawing Document(s), 427 Order, Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s),,, Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s),,, Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s),,, Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s), ) as to Lindsey
                          Kent Springer (s−srt, Dpty Clk) (Entered: 11/19/2010)
     11/19/2010           ***Remark: Per 10th Circuit this is new Notice of Appeal (Re: 428 Notice of
                          Appeal to Circuit Court, ) as to Lindsey Kent Springer (s−srt, Dpty Clk)
                          (Entered: 11/19/2010)
     11/19/2010           ***Remark: appeal forms mailed (Re: 428 Notice of Appeal to Circuit Court,
                          ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 11/19/2010)
     11/19/2010   429     PRELIMINARY RECORD Sent to Circuit Court (Re: 428 Notice of Appeal to
                          Circuit Court, ) as to Lindsey Kent Springer (With attachments) (s−srt, Dpty
                          Clk) (Entered: 11/19/2010)
     11/19/2010   430     APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 10−5156 (#428) (Re: 428 Notice of Appeal to Circuit Court, ) as to
                          Lindsey Kent Springer (sam, Dpty Clk) (Entered: 11/22/2010)
     12/20/2010   431     TRANSCRIPT ORDER FORM (Transcripts are not necessary or are already
                          on file ) (Re: 428 Notice of Appeal to Circuit Court, ) as to Lindsey Kent
                          Springer (s−srt, Dpty Clk) (Entered: 12/20/2010)
     12/20/2010   432     DESIGNATION of Record on Appeal (Re: 428 Notice of Appeal to Circuit
                          Court, ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 12/20/2010)
     12/21/2010   433     MINUTE ORDER by Court Clerk, Having reviewed the docket entry and/or
                          PDF for Dkt # 432, the Court has determined that the designated docket sheet
                          was not attached to the pleading. Attorney Jerold Barringer is hereby directed
                          to re−file an Amended Designation of Record on Appeal with the designated
                          docket sheet attached within 24 hours. (Re: 432 Designation of Record on
                          Appeal ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 12/21/2010)
     12/28/2010   434     LETTER from Circuit Court regarding 1st request for record (Re: 428 Notice
                          of Appeal to Circuit Court, ) as to Lindsey Kent Springer (sam, Dpty Clk)
                          (Entered: 12/28/2010)
     01/03/2011   435     Amended DESIGNATION of Record on Appeal (Re: 428 Notice of Appeal to
                          Circuit Court, ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          01/04/2011)
     01/06/2011   436     RECORD on Appeal Sent to Circuit Court (Record includes: 2 Volumes) (Re:
                          428 Notice of Appeal to Circuit Court, ) as to Lindsey Kent Springer (With
                          attachments) (sdc, Dpty Clk) (Entered: 01/06/2011)
     02/16/2011   437     MOTION for Leave to Exceed Page Limitation by Lindsey K Springer as to
                          Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/16/2011)
     02/16/2011   438     MOTION for New Trial by Lindsey K Springer as to Lindsey Kent Springer
                          (sdc, Dpty Clk) (Entered: 02/16/2011)
     02/16/2011   439

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                          MOTION for Hearing (Re: 438 MOTION for New Trial ) by Lindsey K
                          Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/16/2011)
     02/16/2011   440     BRIEF in Support of Motion (Re: 438 MOTION for New Trial ) by Lindsey K
                          Springer as to Lindsey Kent Springer (With attachments) (sdc, Dpty Clk)
                          Original Electronic Image reflects illegible pages on paper copy provided to
                          the Court (lml, Dpty Clk). (Entered: 02/17/2011)
     02/18/2011   441     RESPONSE in Opposition to Motion (Re: 438 MOTION for New Trial, 439
                          MOTION for Hearing, 437 MOTION for Leave to Exceed Page Limitation )
                          by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 02/18/2011)
     02/22/2011   442     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #437
                          Granted, setting/resetting deadline(s)/hearing(s): ( Miscellaneous Deadline set
                          for 3/15/2011) (Re: 437 MOTION for Leave to Exceed Page Limitation, 438
                          MOTION for New Trial, 439 MOTION for Hearing ) as to Lindsey Kent
                          Springer (cds, Dpty Clk) (Entered: 02/22/2011)
     03/14/2011   445     REPLY to Response to Motion (Re: 439 MOTION for Hearing ) by Lindsey K
                          Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/15/2011)
     03/17/2011   446     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #438
                          denied, #439 denied (Re: 438 MOTION for New Trial, 439 MOTION for
                          Hearing ) as to Lindsey Kent Springer (djh, Dpty Clk) (Entered: 03/17/2011)
     03/28/2011   447     NOTICE OF APPEAL to Circuit Court (Re: 446 Order, Ruling on
                          Motion(s)/Document(s) ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 03/29/2011)
     03/28/2011   448     ***Remark: appeal forms sent (Re: 447 Notice of Appeal to Circuit Court ) as
                          to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/29/2011)
     03/29/2011   449     PRELIMINARY RECORD Sent to Circuit Court (Re: 447 Notice of Appeal to
                          Circuit Court ) as to Lindsey Kent Springer (With attachments) (sdc, Dpty
                          Clk) (Entered: 03/29/2011)
     04/15/2011   452     APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 11−5053 (#447) (Re: 447 Notice of Appeal to Circuit Court ) as to
                          Lindsey Kent Springer (sam, Dpty Clk) (Entered: 04/18/2011)
     05/16/2011   456     MOTION for Leave to Appeal in Forma Pauperis (Re: 447 Notice of Appeal
                          to Circuit Court ) by Lindsey Kent Springer (s−srl, Dpty Clk) (Entered:
                          05/16/2011)
     05/16/2011   457     SUPPLEMENT (Re: 456 MOTION for Leave to Appeal in Forma Pauperis )
                          as to Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 05/16/2011)
     05/17/2011   458     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #456
                          Granted (Re: 447 Notice of Appeal to Circuit Court, 456 MOTION for Leave
                          to Appeal in Forma Pauperis ) as to Lindsey Kent Springer (pll, Dpty Clk)
                          (Entered: 05/17/2011)
     06/13/2011   459     RECORD on Appeal Sent to Circuit Court (Record includes: 1 Volume) (Re:
                          447 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer (With
                          attachments) (sdc, Dpty Clk) (Entered: 06/13/2011)
     10/26/2011   460
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                          DECISION from Circuit Court affirming the Decision of the District Court
                          (awaiting mandate) (Re: 348 Notice of Appeal to Circuit Court, 428 Notice of
                          Appeal to Circuit Court, 447 Notice of Appeal to Circuit Court, 340 Notice of
                          Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar Amos Stilley
                          (sdc, Dpty Clk) (Entered: 10/26/2011)
     12/06/2011   461     MANDATE from Circuit Court (Re: 460 Decision from Circuit Court, 428
                          Notice of Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court ) as
                          to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 12/06/2011)
     12/06/2011   462     MANDATE from Circuit Court (Re: 460 Decision from Circuit Court, 447
                          Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer (sdc, Dpty
                          Clk) (Entered: 12/06/2011)
     05/04/2012   464     LETTER from Circuit Court stating that the Petition for Writ of Certiorari has
                          been filed (U.S. Supreme Court Case Number: 11−10096) (Re: 428 Notice of
                          Appeal to Circuit Court, 447 Notice of Appeal to Circuit Court, 340 Notice of
                          Appeal to Circuit Court ) as to Lindsey Kent Springer (s−srt, Dpty Clk)
                          (Entered: 05/04/2012)
     06/04/2012   468     LETTER from Circuit Court stating that the Petition for Writ of Certiorari has
                          been denied (U.S. Supreme Court Case Number: 11−10096) (Re: 428 Notice
                          of Appeal to Circuit Court, 447 Notice of Appeal to Circuit Court, 340 Notice
                          of Appeal to Circuit Court ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 06/04/2012)
     01/02/2013   469     Letter requesting forms (2255 forms packet and local civil rules sent) by
                          Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          01/03/2013)
     01/02/2013   470     MOTION for Leave to Exceed Page Limitation and Brief to Accompany
                          Motion for Relief Under 2255 by Lindsey K Springer as to Lindsey Kent
                          Springer (sdc, Dpty Clk) (Entered: 01/03/2013)
     01/04/2013   471     ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #470
                          Denied (Re: 470 MOTION for Leave to Exceed Page Limitation and Brief to
                          Accompany Motion for Relief Under 2255 ) as to Lindsey Kent Springer (pll,
                          Dpty Clk) (Entered: 01/04/2013)
     03/11/2013   472     MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 by
                          Lindsey K Springer as to Lindsey Kent Springer (s−srt, Dpty Clk)
                          Civil case 4:13−cv−00145 opened. (Entered: 03/12/2013)
     03/11/2013   473     BRIEF in Support of Motion (Re: 472 MOTION to Vacate/Set Aside/Correct
                          Sentence under 28 U.S.C. 2255 ) by Lindsey K Springer as to Lindsey Kent
                          Springer (s−srt, Dpty Clk) (Entered: 03/12/2013)
     03/11/2013   474     AFFIDAVIT in Support of Motion (Re: 472 MOTION to Vacate/Set
                          Aside/Correct Sentence under 28 U.S.C. 2255 ) by Lindsey K Springer as to
                          Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 03/12/2013)
     03/11/2013   475     CERTIFICATE of Service (Re: 474 Affidavit in Support of Motion, 473 Brief
                          in Support of Motion, 472 MOTION to Vacate/Set Aside/Correct Sentence
                          under 28 U.S.C. 2255 ) by Lindsey K Springer as to Lindsey Kent Springer
                          (s−srt, Dpty Clk) (Entered: 03/12/2013)

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     03/11/2013   476     MINUTE ORDER by Judge Stephen P Friot (Re: 472 MOTION to Vacate/Set
                          Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer
                          (s−srt, Dpty Clk) (Entered: 03/12/2013)
     03/13/2013           ***Remark: copy of #472 given to USA (Re: 476 Order, ) as to Lindsey Kent
                          Springer (s−srt, Dpty Clk) (Entered: 03/13/2013)
     03/14/2013   477     ***Remark: copy of #473, #474, #475 given to USA (Re: 476 Order, ) as to
                          Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 03/14/2013)
     03/15/2013   478     ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                          Responses due by 8/9/2013) (Re: 474 Affidavit in Support of Motion, 473
                          Brief in Support of Motion, 472 MOTION to Vacate/Set Aside/Correct
                          Sentence under 28 U.S.C. 2255 , 475 Certificate of Service, ) as to Lindsey
                          Kent Springer (cds, Dpty Clk) (Entered: 03/15/2013)
     03/25/2013   479     MOTION to Proceed In Forma Pauperis by Lindsey K Springer as to Lindsey
                          Kent Springer (sdc, Dpty Clk) (Entered: 03/25/2013)
     03/27/2013   480     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #479
                          Denied (Re: 479 MOTION to Proceed In Forma Pauperis ) as to Lindsey Kent
                          Springer (cds, Dpty Clk) (Entered: 03/27/2013)
     03/29/2013   481     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) by Lindsey K
                          Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/29/2013)
     04/01/2013   482     ORDER by Judge Stephen P Friot re: deadline to file motion to disqualify,
                          ruling on motion(s)/document(s): #481 Granted (Re: 481 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer
                          (pll, Dpty Clk) (Entered: 04/01/2013)
     04/08/2013   483     MOTION to Clarify by Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          04/08/2013)
     04/09/2013   484     ORDER by Judge Stephen P Friot , terminating document(s) (Re: 480 Order,
                          Ruling on Motion(s)/Document(s), 479 MOTION to Proceed In Forma
                          Pauperis , 483 MOTION to Clarify ) (Documents Terminated: 483 MOTION
                          to Clarify ) as to Lindsey Kent Springer (cds, Dpty Clk) (Entered: 04/09/2013)
     04/29/2013   485     MOTION To Recuse of Disqualify Honorable United States District Judge
                          Stephen P. Friot by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                          04/29/2013)
     04/29/2013   486     AFFIDAVIT in Support of Motion (Re: 485 MOTION To Recuse of
                          Disqualify Honorable United States District Judge Stephen P. Friot ) by
                          Lindsey K Springer as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                          04/29/2013)
     05/03/2013   487     RESPONSE in Opposition to Motion (Re: 485 MOTION To Recuse of
                          Disqualify Honorable United States District Judge Stephen P. Friot ) by USA
                          as to Lindsey Kent Springer (O'Reilly, Charles) Modified on 5/6/2013; this
                          document contains two events and that is not allowed with CM/ECF − see 491
                          for Motion to Strike Document(s) (sac, Dpty Clk). (Entered: 05/03/2013)
     05/03/2013   488     MOTION for Declaratory Judgment Remedy by Lindsey K Springer as to
                          Lindsey Kent Springer (sdc, Dpty Clk) Modified on 5/8/2013 − STRICKEN

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                          per 492 (sac, Dpty Clk). (Entered: 05/03/2013)
     05/03/2013   489     BRIEF in Support of Motion (Re: 488 MOTION for Declaratory Judgment
                          Remedy ) by Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty Clk)
                          Modified on 5/8/2013 − STRICKEN per 492 (sac, Dpty Clk). (Entered:
                          05/03/2013)
     05/03/2013   490     ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                          Miscellaneous Deadline set for 5/17/2013) (Re: 487 Response in Opposition to
                          Motion ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 05/03/2013)
     05/03/2013   491     MOTION to Strike Document(s) (submitted as part of 487 ) (Re: 485
                          MOTION To Recuse of Disqualify Honorable United States District Judge
                          Stephen P. Friot ) by USA as to Lindsey Kent Springer (sac, Dpty Clk)
                          (Entered: 05/06/2013)
     05/06/2013           NOTICE of Docket Entry Modification; Error: this document contains two
                          events and that is not allowed with CM/ECF; Correction: filed Motion to
                          Strike Document(s) − see 491 (Re: 487 Response in Opposition to Motion, ) as
                          to Lindsey Kent Springer (sac, Dpty Clk) (Entered: 05/06/2013)
     05/07/2013   492     ORDER by Judge Stephen P Friot , striking/withdrawing document(s) (Re:
                          489 Brief in Support of Motion, 488 MOTION for Declaratory Judgment
                          Remedy ) (Documents Terminated: 489 Brief in Support of Motion, 488
                          MOTION for Declaratory Judgment Remedy ) as to Lindsey Kent Springer
                          (cds, Dpty Clk) (Entered: 05/07/2013)
     05/10/2013   493     MOTION to Clarify Who is U.S. Attorney by Lindsey K Springer as to
                          Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/10/2013)
     05/10/2013   494     MOTION to Reconsider Determination that Section 2255 is Continuing
                          Criminal Case and Not a New Civil Case by Lindsey K Springer as to Lindsey
                          Kent Springer (sdc, Dpty Clk) (Entered: 05/13/2013)
     05/13/2013   495     ERRATA/CORRECTION (Re: 487 Response in Opposition to Motion, ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 05/13/2013)
     05/15/2013   496     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #493
                          stricken in part, denied in part; #494 denied (Re: 493 MOTION to Clarify Who
                          is U.S. Attorney, 494 MOTION to Reconsider Determination that Section 2255
                          is Continuing Criminal Case and Not a New Civil Case ) as to Lindsey Kent
                          Springer (pll, Dpty Clk) (Entered: 05/15/2013)
     05/15/2013   497     NOTICE OF APPEAL to Circuit Court (Interlocutory) (Re: 490 Order,
                          Setting/Resetting Deadline(s)/Hearing(s), 476 Order, 480 Order, Ruling on
                          Motion(s)/Document(s), 484 Order,,,, Terminating Document(s), 478 Order,,
                          Setting/Resetting Deadline(s)/Hearing(s),,, 492 Order,, Striking/Withdrawing
                          Document(s), ) by Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty
                          Clk) (Entered: 05/15/2013)
     05/15/2013   498     Letter re: appeal by Lindsey K Springer as to Lindsey Kent Springer (sdc,
                          Dpty Clk) (Entered: 05/15/2013)
     05/15/2013   499     PRELIMINARY RECORD Sent to Circuit Court (Re: 497 Notice of Appeal to
                          Circuit Court − Interlocutory, ) as to Lindsey Kent Springer (With
                          attachments) (sdc, Dpty Clk) (Entered: 05/15/2013)

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     05/15/2013           ***Remark: appeal forms mailed to Defendant (Re: 497 Notice of Appeal to
                          Circuit Court − Interlocutory, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 05/15/2013)
     05/16/2013   500     APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 13−5062 (#497) (Re: 497 Notice of Appeal to Circuit Court −
                          Interlocutory, ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                          05/16/2013)
     05/16/2013   501     ORDER from Circuit Court tolling briefing on the merits. Jurisdiction
                          challenged (Re: 497 Notice of Appeal to Circuit Court − Interlocutory, ) as to
                          Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/16/2013)
     05/20/2013   502     REPLY to Response to Motion (Re: 485 MOTION To Recuse of Disqualify
                          Honorable United States District Judge Stephen P. Friot ) by Lindsey K
                          Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/21/2013)
     05/28/2013   503     Amended NOTICE OF APPEAL to Circuit Court (Interlocutory) (Re: 490
                          Order, Setting/Resetting Deadline(s)/Hearing(s), 476 Order, 480 Order, Ruling
                          on Motion(s)/Document(s), 484 Order,,,, Terminating Document(s), 478
                          Order,, Setting/Resetting Deadline(s)/Hearing(s),,, 492 Order,,
                          Striking/Withdrawing Document(s), ) by Lindsey K Springer as to Lindsey
                          Kent Springer (sdc, Dpty Clk) Modified on 5/30/2013 to edit event title (sdc,
                          Dpty Clk). Modified on 5/30/2013 to replace incorrect PDF (sdc, Dpty Clk).
                          (Entered: 05/30/2013)
     05/30/2013   504     Amended PRELIMINARY RECORD Sent to Circuit Court (Re: 503 Notice of
                          Appeal to Circuit Court − Interlocutory, ) as to Lindsey Kent Springer (With
                          attachments) (sdc, Dpty Clk) (Attachment 1 replaced on 5/30/2013) (sdc, Dpty
                          Clk). (Attachment 1 replaced on 5/30/2013) (sdc, Dpty Clk). (Entered:
                          05/30/2013)
     05/30/2013   505     NOTICE of Docket Entry Modification; Error: pages missing; Correction:
                          replaced PDF with corrected document (Re: 503 Notice of Appeal to Circuit
                          Court − Interlocutory,, ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          05/30/2013)
     05/30/2013   506     NOTICE of Docket Entry Modification; Error: missing pages from Amended
                          Notice of Appeal; Correction: replaced PDF with corrected document (Re: 504
                          Preliminary Record Sent, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 05/30/2013)
     05/31/2013   507     MOTION to Disqualify Charles A. O'Reilly by Lindsey Kent Springer (sdc,
                          Dpty Clk) (Entered: 05/31/2013)
     05/31/2013   508     MOTION to Substitute by Lindsey K Springer as to Lindsey Kent Springer
                          (sdc, Dpty Clk) (Entered: 05/31/2013)
     06/20/2013   509     DECISION from Circuit Court dismissing the Appeal (Re: 503 Notice of
                          Appeal to Circuit Court − Interlocutory,, 497 Notice of Appeal to Circuit
                          Court − Interlocutory, ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          06/20/2013)
     06/21/2013   510     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #485
                          denied (Re: 485 MOTION To Recuse of Disqualify Honorable United States
                          District Judge Stephen P. Friot ) as to Lindsey Kent Springer (hbo, Dpty Clk)
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                          (Entered: 06/21/2013)
     06/25/2013   511     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #507 &
                          #508 are denied (Re: 508 MOTION to Substitute , 507 MOTION to Disqualify
                          Charles A. O'Reilly ) as to Lindsey Kent Springer (lml, Dpty Clk) (Entered:
                          06/25/2013)
     07/02/2013   512     MOTION for Conditional Release on Writ of Habeas Corpus as to Count One
                          by Lindsey K Springer as to Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                          07/02/2013)
     07/02/2013   513     MOTION for Conditional Release on Writ of Habeas Corpus as to Counts
                          Two, Three and Four by Lindsey K Springer as to Lindsey Kent Springer (sc,
                          Dpty Clk) (Entered: 07/02/2013)
     07/03/2013   514     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #512
                          and 513 denied (Re: 513 MOTION for Conditional Release on Writ of Habeas
                          Corpus as to Counts Two, Three and Four , 512 MOTION for Conditional
                          Release on Writ of Habeas Corpus as to Count One ) as to Lindsey Kent
                          Springer (pll, Dpty Clk) (Entered: 07/03/2013)
     07/24/2013   515     Letter to Clerk of Court as to Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                          07/24/2013)
     08/13/2013   516     MOTION for Extension of Time to Respond to Motion (Re: 472 MOTION to
                          Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to
                          Lindsey Kent Springer (Gallant, Jeffrey) (Entered: 08/13/2013)
     08/15/2013   517     ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                          Responses due by 9/9/2013) (Re: 474 Affidavit in Support of Motion, 473
                          Brief in Support of Motion, 472 MOTION to Vacate/Set Aside/Correct
                          Sentence under 28 U.S.C. 2255 , 475 Certificate of Service, ) as to Lindsey
                          Kent Springer (hbo, Dpty Clk) (Entered: 08/15/2013)
     08/29/2013           ***Remark: Petition for Writ of Mandamus was filed in the 10th Circuit on
                          08/29/2013 and assigned case no. 13−5113 as to Lindsey Kent Springer (sdc,
                          Dpty Clk) (Entered: 09/18/2013)
     09/09/2013   518     Preliminary RESPONSE in Opposition to Motion (Re: 472 MOTION to
                          Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to
                          Lindsey Kent Springer (With attachments) (O'Reilly, Charles) (Entered:
                          09/09/2013)
     09/16/2013   519     NOTICE of Change of Address as to Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 09/16/2013)
     09/18/2013   520     ORDER from Circuit Court granting Appellant's motion for leave to proceed
                          in forma pauperis (Re: Remark ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 09/18/2013)
     09/18/2013   521     ORDER from Circuit Court denying Petition for Writ of Mandamus (Re:
                          Remark ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 09/18/2013)
     10/07/2013   522     MOTION to Strike Document(s) (Re: 518 Response in Opposition to Motion )
                          by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 10/07/2013)
     10/07/2013   523
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                          NOTICE of Change of Address by Lindsey K Springer as to Lindsey Kent
                          Springer (sc, Dpty Clk) (Entered: 10/07/2013)
     10/09/2013   524     MOTION for Leave to Conduct Limited Discovery on United States Attorney
                          by Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          10/09/2013)
     10/24/2013   525     RESPONSE in Opposition to Motion to Strike (Re: 522 MOTION to Strike
                          Document(s) ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                          (Entered: 10/24/2013)
     10/24/2013   526     RESPONSE in Opposition to Motion to Conduct Limited Discovery (Re: 524
                          MOTION for Leave to Conduct Limited Discovery on United States Attorney
                          ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          10/24/2013)
     10/31/2013   527     MOTION for Leave to File Reply (Re: 524 MOTION for Leave to Conduct
                          Limited Discovery on United States Attorney , 522 MOTION to Strike
                          Document(s) ) by Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty
                          Clk) (Entered: 11/01/2013)
     01/06/2014   528     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #522,
                          524 & 527 denied (Re: 527 MOTION for Leave to File Reply , 524 MOTION
                          for Leave to Conduct Limited Discovery on United States Attorney , 522
                          MOTION to Strike Document(s) ) as to Lindsey Kent Springer (hbo, Dpty
                          Clk) (Entered: 01/06/2014)
     01/08/2014   529     MOTION to Clarify Reply (Re: 478 Order, Setting/Resetting
                          Deadline(s)/Hearing(s),,,, ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                          01/08/2014)
     01/10/2014   530     ORDER by Judge Stephen P Friot (Copy of this order and Order #528 mailed
                          to defendant), ruling on motion(s)/document(s): #529 granted (Re: 529
                          MOTION to Clarify Reply ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                          (Entered: 01/10/2014)
     01/21/2014   531     MOTION to Reconsider (Re: 528 Order, Ruling on Motion(s)/Document(s),, )
                          by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 01/21/2014)
     01/31/2014   532     MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer
                          (sdc, Dpty Clk) (Entered: 01/31/2014)
     02/03/2014   533     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #532
                          granted (Re: 532 MOTION for Leave to Exceed Page Limitation ) as to
                          Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 02/03/2014)
     02/10/2014   534     RESPONSE (Re: 478 Order, Setting/Resetting Deadline(s)/Hearing(s),,,, ) by
                          Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/11/2014)
     02/13/2014   535     Letter from Defendant re: receipt of Motion as to Lindsey Kent Springer (sdc,
                          Dpty Clk) (Entered: 02/13/2014)
     02/13/2014   536     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #531
                          denied (Re: 531 MOTION to Reconsider ) as to Lindsey Kent Springer (hbo,
                          Dpty Clk) (Entered: 02/13/2014)
     03/03/2014   538
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                          MOTION to Disqualify Judge by Lindsey Kent Springer (sc, Dpty Clk)
                          (Entered: 03/04/2014)
     03/04/2014   537     ORDER by Judge Stephen P Friot Second stage schedule − Government
                          response 5/5/14, Defendant reply 7/7/14; Briefs 25 pages limitation; Dismissal
                          of certain grounds for relief., setting/resetting deadline(s)/hearing(s): (
                          Responses due by 5/5/2014) (Re: 472 MOTION to Vacate/Set Aside/Correct
                          Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                          (Entered: 03/04/2014)
     03/05/2014   539     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #538
                          denied (Re: 538 MOTION to Disqualify Judge ) as to Lindsey Kent Springer
                          (hbo, Dpty Clk) (Entered: 03/05/2014)
     03/19/2014   540     MOTION for Return/Release Property by Lindsey Kent Springer (sc, Dpty
                          Clk) (Entered: 03/20/2014)
     03/19/2014   541     EXHIBIT(S) in Support of Motion for Return of Property (Re: 540 MOTION
                          for Return/Release Property ) as to Lindsey Kent Springer (sc, Dpty Clk)
                          (Entered: 03/20/2014)
     03/24/2014   542     ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                          Responses due by 4/9/2014) (Re: 540 MOTION for Return/Release Property )
                          as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 03/24/2014)
     03/27/2014   543     MOTION for Identity of Statutory Authority of Honorable Stephen P. Friot by
                          Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/27/2014)
     03/27/2014   544     MOTION to Reconsider (Re: 537 Order, Setting/Resetting
                          Deadline(s)/Hearing(s),,,, ) by Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 03/27/2014)
     03/27/2014   545     MOTION for Appointment of Counsel by Lindsey Kent Springer (sdc, Dpty
                          Clk) (Entered: 03/27/2014)
     03/27/2014   546     MOTION for Leave to Proceed Informa Pauperis by Lindsey Kent Springer
                          (sdc, Dpty Clk) (Entered: 03/27/2014)
     03/31/2014   547     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #543,
                          544 & 545 denied, terminating document(s) (Re: 545 MOTION for
                          Appointment of Counsel , 544 MOTION to Reconsider , 543 MOTION for
                          Identity of Statutory Authority of Honorable Stephen P. Friot , 546 MOTION
                          for Leave to Proceed Informa Pauperis ) (Documents Terminated: 546
                          MOTION for Leave to Proceed Informa Pauperis ) as to Lindsey Kent
                          Springer (hbo, Dpty Clk) (Entered: 03/31/2014)
     04/07/2014   548     RESPONSE in Opposition to Motion (Re: 540 MOTION for Return/Release
                          Property ) by USA as to Lindsey Kent Springer (With attachments) (O'Reilly,
                          Charles) (Entered: 04/07/2014)
     04/07/2014   549     MOTION for an Order Directing Mr. Springer to Retrieve Search Warrant
                          Records by USA as to Lindsey Kent Springer (With attachments) (O'Reilly,
                          Charles) (Entered: 04/07/2014)
     04/07/2014   550     ERRATA/CORRECTION Attachment A (Re: 548 Response in Opposition to
                          Motion ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:

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                          04/07/2014)
     04/07/2014   551     MOTION for Rule 41(i) Papers by Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 04/07/2014)
     04/10/2014   552     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #540 &
                          551 denied (Re: 551 MOTION for Rule 41(i) Papers , 540 MOTION for
                          Return/Release Property ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                          (Entered: 04/10/2014)
     04/24/2014   553     MOTION to Reconsider (Re: 537 Order, Setting/Resetting
                          Deadline(s)/Hearing(s),,,, ) by Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 04/24/2014)
     04/25/2014   554     NOTICE OF APPEAL to Circuit Court (Re: 552 Order, Ruling on
                          Motion(s)/Document(s),, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 04/25/2014)
     04/25/2014   555     NOTICE of Matters Alleged in Another Action, Case No.
                          14−CV−71−JHP−TLW as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          04/28/2014)
     04/28/2014   556     PRELIMINARY RECORD Sent to Circuit Court (Re: 554 Notice of Appeal to
                          Circuit Court ) as to Lindsey Kent Springer (With attachments) (sdc, Dpty
                          Clk) (Entered: 04/28/2014)
     04/28/2014   557     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #553
                          denied (Re: 553 MOTION to Reconsider ) as to Lindsey Kent Springer (hbo,
                          Dpty Clk) (Entered: 04/28/2014)
     04/28/2014   558     RESPONSE in Opposition to Motion to Government Lawyer's Motion (Re:
                          549 MOTION for an Order Directing Mr. Springer to Retrieve Search
                          Warrant Records ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                          04/28/2014)
     04/28/2014   559     MOTION for Leave to Appeal in Forma Pauperis (Re: 554 Notice of Appeal
                          to Circuit Court ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                          04/28/2014)
     04/28/2014   560     MOTION for Leave to Appeal in Forma Pauperis (Re: 554 Notice of Appeal
                          to Circuit Court ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                          04/28/2014)
     04/28/2014   561     APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 14−5047 (#554) (Re: 554 Notice of Appeal to Circuit Court ) as to
                          Lindsey Kent Springer (sc, Dpty Clk) (Modified on 4/28/2014 to attach PDF
                          (sc, Dpty Clk). (Entered: 04/28/2014)
     04/30/2014   562     RESPONSE in Opposition to Motion (Re: 472 MOTION to Vacate/Set
                          Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to Lindsey Kent
                          Springer (O'Reilly, Charles) (Entered: 04/30/2014)
     05/01/2014   574     MAIL to Martha Durossette Returned − address has been changed to address
                          unknown. (Re: 557 Order, Ruling on Motion(s)/Document(s) ) as to Lindsey
                          Kent Springer (sc, Dpty Clk) (Entered: 07/09/2014)
     05/02/2014   563
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                          ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #559 &
                          560 denied (Re: 560 MOTION for Leave to Appeal in Forma Pauperis , 559
                          MOTION for Leave to Appeal in Forma Pauperis ) as to Lindsey Kent
                          Springer (hbo, Dpty Clk) (Entered: 05/02/2014)
     06/04/2014   564     DECISION from Circuit Court dismissing the Appeal (Re: 554 Notice of
                          Appeal to Circuit Court ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 06/04/2014)
     06/04/2014   565     MANDATE from Circuit Court (Re: 554 Notice of Appeal to Circuit Court,
                          564 Decision from Circuit Court ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 06/04/2014)
     06/11/2014   566     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #549
                          granted (Re: 549 MOTION for an Order Directing Mr. Springer to Retrieve
                          Search Warrant Records ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                          (Entered: 06/11/2014)
     06/16/2014   569     MAIL to Martha Durossette Returned − address has been changed to address
                          unknown. (Re: 566 Order, Ruling on Motion(s)/Document(s) ) as to Lindsey
                          Kent Springer (sdc, Dpty Clk) (Entered: 06/26/2014)
     06/20/2014   567     RESPONSE Merits Brief by Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          06/24/2014)
     06/20/2014   568     AFFIDAVIT in Support of Motion (Re: 472 MOTION to Vacate/Set
                          Aside/Correct Sentence under 28 U.S.C. 2255 ) by Lindsey Kent Springer
                          (sdc, Dpty Clk) (Entered: 06/24/2014)
     06/27/2014   570     MOTION to Amend 2255 (Re: 472 MOTION to Vacate/Set Aside/Correct
                          Sentence under 28 U.S.C. 2255 ) by Lindsey Kent Springer (sc, Dpty Clk)
                          (Entered: 06/27/2014)
     07/01/2014   571     ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                          Responses due by 7/18/2014) (Re: 570 MOTION to Amend 2255 ) as to
                          Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 07/01/2014)
     07/07/2014   572     MOTION to Reconsider and Allow Discovery by Lindsey Kent Springer (sc,
                          Dpty Clk) (Entered: 07/07/2014)
     07/07/2014   573     AFFIDAVIT (titled as Declaration of Lindsey Kent Springer in Support of
                          Motion to Reconsider and Allow Discovery) (Re: 572 MOTION to Reconsider
                          and Allow Discovery ) by Lindsey Kent Springer (sc, Dpty Clk) Modified on
                          7/8/2014 to reflect correct event (sc, Dpty Clk). (Entered: 07/07/2014)
     07/08/2014           NOTICE of Docket Entry Modification; Error: docketed using incorrect event
                          title; Correction: edited docket text to reflect correct event title (Re: 573 Brief
                          in Support of Motion, ) as to Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                          07/08/2014)
     07/09/2014   575     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #572
                          denied (Re: 572 MOTION to Reconsider and Allow Discovery ) as to Lindsey
                          Kent Springer (hbo, Dpty Clk) (Entered: 07/09/2014)
     07/10/2014   576     RESPONSE in Opposition to Motion (Re: 570 MOTION to Amend 2255 ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 07/10/2014)

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     07/11/2014   577     MOTION for Release Pending Disposition of 2255 Proceeding (Re: 472
                          MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) by
                          Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/11/2014)
     07/11/2014   578     AFFIDAVIT in Support of Motion (titled as Declaration of Lindsey Kent
                          Springer in Support of Motion for Release Pending Disposition of 2255
                          Proceeding) (Re: 577 MOTION for Release Pending Disposition of 2255
                          Proceeding ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/11/2014)
     07/15/2014   579     ORDER by Judge Stephen P Friot Documents #577 & 578 are transferred to
                          the U.S. District Court for the District of New Mexico, further any claims for
                          relief brought under 28USC Sec 2255 are dismissed without prejudice for lack
                          of jurisdiction. (Re: 578 Affidavit in Support of Motion, 577 MOTION for
                          Release Pending Disposition of 2255 Proceeding ) as to Lindsey Kent Springer
                          (hbo, Dpty Clk) (Entered: 07/15/2014)
     07/16/2014   580     Letter to United States District Court for the District of New Mexico re:
                          transferring dkt #s 577 & 578 as to Lindsey Kent Springer (srt, Dpty Clk)
                          (Entered: 07/16/2014)
     07/25/2014   581     ***Remark: acknowledgment of receipt of letter to United States District
                          Court for the District of New Mexico re: transferring dkt #s 577 & 578 (Re:
                          580 Letter ) as to Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/28/2014)
     07/25/2014   582     REPLY to Response to Motion (Re: 570 MOTION to Amend 2255 ) by
                          Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/28/2014)
     07/30/2014   583     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #570
                          denied (Re: 570 MOTION to Amend 2255 ) as to Lindsey Kent Springer (hbo,
                          Dpty Clk) (Entered: 07/30/2014)
     08/22/2014   584     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #472
                          denied, denying certificate of appealability (Re: 472 MOTION to Vacate/Set
                          Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer
                          (pll, Dpty Clk) (Entered: 08/22/2014)
     08/22/2014   585     JUDGMENT by Judge Stephen P Friot (Re: 472 MOTION to Vacate/Set
                          Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer
                          (pll, Dpty Clk) (Entered: 08/22/2014)
     08/25/2014   586     MOTION For Order Finding Charles A. O'Reilly Is Not Authorized And Was
                          Never Authorized To Represent The United States Of America by Lindsey
                          Kent Springer (jla, Dpty Clk) (Entered: 08/25/2014)
     08/26/2014   587     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #586
                          Denied (Re: 586 MOTION For Order Finding Charles A. O'Reilly Is Not
                          Authorized And Was Never Authorized To Represent The United States Of
                          America ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 08/26/2014)
     09/12/2014   588     NOTICE OF APPEAL to Circuit Court (Re: 476 Order, 566 Order, Ruling on
                          Motion(s)/Document(s), 530 Order, Ruling on Motion(s)/Document(s), 587
                          Order, Ruling on Motion(s)/Document(s),, 536 Order, Ruling on
                          Motion(s)/Document(s), 480 Order, Ruling on Motion(s)/Document(s), 528
                          Order, Ruling on Motion(s)/Document(s),, 484 Order,, Terminating
                          Document(s),,, 478 Order, Setting/Resetting Deadline(s)/Hearing(s),,,, 537
                          Order, Setting/Resetting Deadline(s)/Hearing(s),,,, 492 Order,
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                          Striking/Withdrawing Document(s),, 585 Judgment, 584 Order, Ruling on
                          Motion(s)/Document(s), Re: Ruling on 2255, 3582 or Rule 35 Motion,
                          Denying Certificate of Appealability,,,, 575 Order, Ruling on
                          Motion(s)/Document(s), 557 Order, Ruling on Motion(s)/Document(s), 496
                          Order, Ruling on Motion(s)/Document(s),, 547 Order, Ruling on
                          Motion(s)/Document(s), Terminating Document(s),,,,,, 511 Order, Ruling on
                          Motion(s)/Document(s),, 552 Order, Ruling on Motion(s)/Document(s),, 579
                          Order,,, 514 Order, Ruling on Motion(s)/Document(s),, 510 Order, Ruling on
                          Motion(s)/Document(s),, 539 Order, Ruling on Motion(s)/Document(s),, 583
                          Order, Ruling on Motion(s)/Document(s) ) as to Lindsey Kent Springer (sc,
                          Dpty Clk) Modified on 9/16/2014 to create link for document #539 (sc, Dpty
                          Clk). (Entered: 09/16/2014)
     09/16/2014   589     PRELIMINARY RECORD Sent to Circuit Court (Re: 588 Notice of Appeal to
                          Circuit Court,,,,, ) as to Lindsey Kent Springer (With attachments) (sc, Dpty
                          Clk) Modified on 9/16/2014 to replace incorrect PDF (sc, Dpty Clk). (Entered:
                          09/16/2014)
     09/16/2014   590     APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 14−5109 (#588) (Re: 588 Notice of Appeal to Circuit Court,,,,, ) as to
                          Lindsey Kent Springer (sc, Dpty Clk) (Entered: 09/16/2014)
     09/18/2014   591     ***Remark: A Petition for Writ of mandamus has been filed on 09/18/14 at the
                          Circuit Court assigning case number 14−5111 as to Lindsey Kent Springer
                          (sc, Dpty Clk) (Entered: 09/19/2014)
     10/06/2014   592     ORDER from Circuit Court directing petitioner to show cause why this
                          mandamus petition should not be dismissed as moot (Re: 591 Remark ) as to
                          Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 10/06/2014)
     10/06/2014   593     MOTION for Leave to Appeal in Forma Pauperis (Re: 588 Notice of Appeal
                          to Circuit Court,,,,, ) by Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          10/06/2014)
     10/07/2014   594     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #593
                          denied (Re: 593 MOTION for Leave to Appeal in Forma Pauperis, 588
                          NOTICE OF APPEAL ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                          Modified on 10/8/2014 to create link to 588 (sac, Dpty Clk). (Entered:
                          10/07/2014)
     10/08/2014   595     LETTER from Circuit Court regarding jurisdictional review complete. Record
                          on appeal due 11/17/2014 (Re: 588 Notice of Appeal to Circuit Court,,,,, ) as
                          to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 10/08/2014)
     10/22/2014   596     ORDER from Circuit Court dismissing Petition for Writ of Mandamus (Re:
                          591 Remark ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          10/22/2014)
     11/05/2014   597     RECORD on Appeal Sent to Circuit Court (Record includes: 1Volume) (Re:
                          588 Notice of Appeal to Circuit Court,,,,, ) as to Lindsey Kent Springer (With
                          attachments) (sdc, Dpty Clk) (Main Document 597 replaced on 11/5/2014 to
                          replace incorrect cover letter) (sdc, Dpty Clk). (Entered: 11/05/2014)
     11/05/2014   598     NOTICE of Docket Entry Modification; Error: cover letter filed with incorrect
                          10th circuit case number; Correction: replaced document with corrected PDF

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                          (Re: 597 Appeal Record Sent, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                          (Entered: 11/05/2014)
     02/25/2015   599     DECISION from Circuit Court dismissing the Appeal (Re: 588 Notice of
                          Appeal to Circuit Court,,,,, ) as to Lindsey Kent Springer (sc, Dpty Clk)
                          (Entered: 02/25/2015)
     08/25/2015   600     Letter re: restitution (Resp Ltr Sent) as to Lindsey Kent Springer (jln, Dpty
                          Clk) (Entered: 08/25/2015)
     08/25/2015   601     Letter to Lindsey Kent Springer re:financial status as to Lindsey Kent
                          Springer (jln, Dpty Clk) (Entered: 08/25/2015)
     08/28/2015   602     MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to File Motion
                          Pursuant to Federal Rules of Civil Procedure Rule 60(b) by Lindsey Kent
                          Springer (sdc, Dpty Clk) (Entered: 08/28/2015)
     09/04/2015   603     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #602
                          denied (Re: 602 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                          to File Motion Pursuant to Federal Rules of Civil Procedure Rule 60(b) ) as to
                          Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 09/04/2015)
     10/13/2015   604     MOTION to Enjoin Enforcement of the Judgment Dated April 28, 2010,
                          Based Upon Several Frauds on the Court (Re: 337 Judgment and
                          Commitment, Entering Judgment ) by Lindsey Kent Springer (sc, Dpty Clk)
                          (Entered: 10/14/2015)
     10/13/2015   605     BRIEF in Support of Motion (Re: 604 MOTION to Enjoin Enforcement of the
                          Judgment Dated April 28, 2010, Based Upon Several Frauds on the Court ) by
                          Lindsey Kent Springer (sc, Dpty Clk) (Entered: 10/14/2015)
     10/20/2015   606     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #604
                          denied (Re: 604 MOTION to Enjoin Enforcement of the Judgment Dated
                          April 28, 2010, Based Upon Several Frauds on the Court ) as to Lindsey Kent
                          Springer (lml, Dpty Clk) Modified on 11/29/2017 − VACATED per 622 ;
                          604 reinstated (sac−qc, Dpty Clk). (Entered: 10/20/2015)
     11/02/2015   607     NOTICE OF APPEAL to Circuit Court (Re: 606 Order, Ruling on
                          Motion(s)/Document(s),, ) as to Lindsey Kent Springer (jln, Dpty Clk)
                          (Entered: 11/02/2015)
     11/03/2015   608     PRELIMINARY RECORD Sent to Circuit Court (Re: 607 Notice of Appeal to
                          Circuit Court ) as to Lindsey Kent Springer (With attachments) (jln, Dpty Clk)
                          (Entered: 11/03/2015)
     11/03/2015   609     APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 15−5109 (#607) (Re: 607 Notice of Appeal to Circuit Court ) as to
                          Lindsey Kent Springer (sc, Dpty Clk) (Entered: 11/03/2015)
     12/04/2015   610     LETTER from Circuit Court regarding Jurisdictional review complete; record
                          due 01/13/2016 (Re: 607 Notice of Appeal to Circuit Court ) as to Lindsey
                          Kent Springer (jln, Dpty Clk) (Entered: 12/04/2015)
     12/07/2015   611     MOTION for Leave to Appeal in Forma Pauperis (Re: 607 Notice of Appeal
                          to Circuit Court ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                          12/07/2015)

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     12/10/2015   612     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #611
                          denied, setting/resetting deadline(s)/hearing(s): ( Miscellaneous Deadline set
                          for 1/11/2016) (Re: 611 MOTION for Leave to Appeal in Forma Pauperis ) as
                          to Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 12/10/2015)
     12/10/2015   613     RECORD on Appeal Sent to Circuit Court (Record includes: 1 Volume) (Re:
                          607 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer (With
                          attachments) (sdc, Dpty Clk) (Entered: 12/10/2015)
     04/18/2016   614     MOTION for Release Pending Appeal (Image of pg 23 is as legible as the
                          original) by Lindsey Kent Springer (jln, Dpty Clk) Modified on 4/20/2016 to
                          clarify notation of image quality of pg 23 (jln, Dpty Clk). (Entered:
                          04/18/2016)
     04/19/2016   615     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #614
                          denied (Re: 614 MOTION for Release Pending Appeal (best available image
                          for pg 23 of pdf) ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered:
                          04/19/2016)
     04/21/2016   616     NOTICE of Change of Address as to Lindsey Kent Springer (jln, Dpty Clk)
                          (Entered: 04/21/2016)
     01/11/2017   620     ORDER from Circuit Court appointing O Dean Sanderford as counsel for the
                          Appellant (Re: 607 Notice of Appeal to Circuit Court ) as to Lindsey Kent
                          Springer (jln, Dpty Clk) (Entered: 01/12/2017)
     11/13/2017   621     DECISION from Circuit Court dismissing the Appeal denying the COA and
                          instructing the District Court to vacate its decision (Re: 607 Notice of Appeal
                          to Circuit Court ) as to Lindsey Kent Springer (1) (jln, Dpty Clk) (Entered:
                          11/13/2017)
     11/28/2017   622     ORDER by Judge Stephen P Friot , vacating/setting aside order(s) (Re: 606
                          Order, Ruling on Motion(s)/Document(s),, ) (Documents Terminated: 606
                          Order, Ruling on Motion(s)/Document(s),, ) as to Lindsey Kent Springer (1)
                          (kjp, Dpty Clk) (Entered: 11/28/2017)
     11/29/2017   623     ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #604
                          dismissed (Re: 604 MOTION to Enjoin Enforcement of the Judgment Dated
                          April 28, 2010, Based Upon Several Frauds on the Court ) as to Lindsey Kent
                          Springer (1) (lml, Dpty Clk) (Entered: 11/29/2017)
     01/04/2018   625     MOTION to Vacate/Set Aside (Re: 585 Judgment, 584 Order,, Ruling on
                          Motion(s)/Document(s),, Re: Ruling on 2255, Rule 35, or Reduction of
                          Sentence Motion,, Denying Certificate of Appealability, ) by Lindsey Kent
                          Springer (1) (sc, Dpty Clk) (Entered: 01/04/2018)
     01/04/2018   626     BRIEF in Support of Motion (Re: 625 MOTION to Vacate/Set Aside ) by
                          Lindsey Kent Springer (1) (sc, Dpty Clk) (Entered: 01/04/2018)
     01/04/2018   627     AFFIDAVIT of Lindsey Kent Springer (titled "Declaration") as to Lindsey
                          Kent Springer (1) (sc, Dpty Clk) (Entered: 01/04/2018)
     01/08/2018   628     ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                          Responses due by 2/22/2018) (Re: 625 MOTION to Vacate/Set Aside ) as to
                          Lindsey Kent Springer (1) (kjp, Dpty Clk) (Entered: 01/08/2018)


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     01/10/2018   629       RESPONSE in Opposition to Motion (Re: 625 MOTION to Vacate/Set Aside
                            ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                            01/10/2018)
     01/11/2018   630       ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s):
                            (Reply due by 2/10/2018) (Re: 629 Response in Opposition to Motion, 625
                            MOTION to Vacate/Set Aside ) as to Lindsey Kent Springer (1) (kjp, Dpty
                            Clk) (Entered: 01/11/2018)
     01/31/2018   632       REPLY to Response to Motion (Re: 625 MOTION to Vacate/Set Aside ) by
                            Lindsey Kent Springer (1) (jln, Dpty Clk) (Entered: 01/31/2018)
     02/09/2018   634       SURREPLY to Motion (Re: 625 MOTION to Vacate/Set Aside ) by USA as
                            to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 02/09/2018)
     02/21/2018   635       ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s):
                            (Any Reply due by 4/13/2018) ( Responses due by 3/23/2018) (Re: 629
                            Response in Opposition to Motion, 625 MOTION to Vacate/Set Aside ) as to
                            Lindsey Kent Springer (1) (kjp, Dpty Clk) (Entered: 02/21/2018)
     03/26/2018   636       MOTION to File Response Out of Time and Request for Extension of Time by
                            USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 03/26/2018)
     03/26/2018   637   62 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #636
                           Granted, setting/resetting deadline(s)/hearing(s): ( Responses due by
                           4/13/2018) (Re: 636 MOTION to File Response Out of Time and Request for
                           Extension of Time, 625 MOTION to Vacate/Set Aside ) as to Lindsey Kent
                           Springer (1) (kjp, Dpty Clk) (Entered: 03/26/2018)
     03/30/2018   638       MOTION to Reconsider (Re: 637 Order,, Ruling on Motion(s)/Document(s),,
                            Setting/Resetting Deadline(s)/Hearing(s),,, ) by Lindsey Kent Springer (1) (sc,
                            Dpty Clk) (Entered: 03/30/2018)
     04/02/2018   639       LETTER from Circuit Court stating that the Petition for Writ of Certiorari has
                            been filed (U.S. Supreme Court Case Number: 17−8312) (Re: 607 Notice of
                            Appeal to Circuit Court ) as to Lindsey Kent Springer (1) (jln, Dpty Clk)
                            (Entered: 04/02/2018)
     04/03/2018   640   64 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #638
                           Denied (Re: 638 MOTION to Reconsider , 637 Order,, Ruling on
                           Motion(s)/Document(s),, Setting/Resetting Deadline(s)/Hearing(s),,, ) as to
                           Lindsey Kent Springer (1) (kjp, Dpty Clk) (Entered: 04/03/2018)
     04/10/2018   641       RESPONSE in Opposition to Motion (Re: 625 MOTION to Vacate/Set Aside
                            ) by USA as to Lindsey Kent Springer (With attachments) (O'Reilly, Charles)
                            (Entered: 04/10/2018)
     04/26/2018   642       REPLY to Response to Motion (Re: 641 Response in Opposition to Motion,
                            625 MOTION to Vacate/Set Aside ) by Lindsey Kent Springer (1) (sc, Dpty
                            Clk) Modified on 5/1/2018 to correct event (sc, Dpty Clk). (Entered:
                            04/30/2018)
     05/01/2018   643       NOTICE of Docket Entry Modification; Error: wrong event selected (Reply);
                            Correction: corrected event (REPLY to Response to Motion) (Re: 642 Reply )
                            as to Lindsey Kent Springer (1) (sc, Dpty Clk) (Entered: 05/01/2018)


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     05/14/2018   644        LETTER from Circuit Court stating that the Petition for Writ of Certiorari has
                             been denied (Re: 607 Notice of Appeal to Circuit Court ) as to Lindsey Kent
                             Springer (1) (jln, Dpty Clk) (Entered: 05/14/2018)
     06/22/2018   645   65 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #625
                           Denied, denying certificate of appealability (Re: 625 MOTION to Vacate/Set
                           Aside , 585 Judgment, 584 Order,, Ruling on Motion(s)/Document(s),, Re:
                           Ruling on 2255, Rule 35, or Reduction of Sentence Motion,, Denying
                           Certificate of Appealability, ) as to Lindsey Kent Springer (1) (kjp, Dpty Clk)
                           (Entered: 06/22/2018)
     06/22/2018   646   69 JUDGMENT by Judge Stephen P Friot (Re: 645 Order,, Ruling on
                           Motion(s)/Document(s),, Denying Certificate of Appealability,,, ) as to
                           Lindsey Kent Springer (1) (kjp, Dpty Clk) (Entered: 06/22/2018)
     07/05/2018   647        MOTION to Reconsider (Re: 646 Judgment, 645 Order,, Ruling on
                             Motion(s)/Document(s),, Denying Certificate of Appealability,,, ) by Lindsey
                             Kent Springer (1) (sc, Dpty Clk) (Entered: 07/05/2018)
     07/10/2018   648        ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                             Responses due by 8/21/2018) (Re: 647 MOTION to Reconsider ) as to
                             Lindsey Kent Springer (1) (kjp, Dpty Clk) (Entered: 07/10/2018)
     07/12/2018   649        MOTION to Vacate/Set Aside (Re: 646 Judgment, 645 Order,, Ruling on
                             Motion(s)/Document(s),, Denying Certificate of Appealability,,, ) by Lindsey
                             Kent Springer (1) (jln, Dpty Clk) (Entered: 07/12/2018)
     07/13/2018   650        ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                             Responses due by 8/21/2018) (Re: 649 MOTION to Vacate/Set Aside ) as to
                             Lindsey Kent Springer (1) (kjp, Dpty Clk) (Entered: 07/13/2018)
     08/01/2018   653        MOTION to Determine the Constitutional Validity of the Appointment of
                             Office by Lindsey Kent Springer (1) (sc, Dpty Clk) (Entered: 08/01/2018)
     08/01/2018   654        ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                             Responses due by 8/21/2018) (Re: 653 MOTION to Determine the
                             Constitutional Validity of the Appointment of Office ) as to Lindsey Kent
                             Springer (1) (kjp, Dpty Clk) (Entered: 08/01/2018)
     08/02/2018   655        RESPONSE in Opposition to Motion (Re: 653 MOTION to Determine the
                             Constitutional Validity of the Appointment of Office , 647 MOTION to
                             Reconsider , 649 MOTION to Vacate/Set Aside ) by USA as to Lindsey Kent
                             Springer (With attachments) (O'Reilly, Charles) (Entered: 08/02/2018)
     08/16/2018   656        MOTION to Strike Document(s) (Re: 636 MOTION to File Response Out of
                             Time and Request for Extension of Time, 641 Response in Opposition to
                             Motion, 629 Response in Opposition to Motion, 634 Surreply to Motion, 655
                             Response in Opposition to Motion, ) by Lindsey Kent Springer (1) (sc, Dpty
                             Clk) (Entered: 08/16/2018)
     08/20/2018   657        MOTION for Leave to File Replies (Re: 653 MOTION to Determine the
                             Constitutional Validity of the Appointment of Office , 647 MOTION to
                             Reconsider , 649 MOTION to Vacate/Set Aside ) by Lindsey Kent Springer
                             (1) (jln, Dpty Clk) (Entered: 08/20/2018)
     08/30/2018   658   70

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                            ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): Motions
                            647, 649, 653, 656 and 657 are Denied; Certification of Appealability Granted
                            in Part and Denied in Part, denying certificate of appealability, granting
                            certificate of appealability (Re: 653 MOTION to Determine the Constitutional
                            Validity of the Appointment of Office , 647 MOTION to Reconsider , 656
                            MOTION to Strike Document(s) , 657 MOTION for Leave to File Replies ,
                            649 MOTION to Vacate/Set Aside , 636 MOTION to File Response Out of
                            Time and Request for Extension of Time, 641 Response in Opposition to
                            Motion, 629 Response in Opposition to Motion, 634 Surreply to Motion, 655
                            Response in Opposition to Motion, ) as to Lindsey Kent Springer (1) (kjp,
                            Dpty Clk) (Entered: 08/30/2018)
     10/15/2018   659   76 NOTICE OF APPEAL to Circuit Court (Re: 658 Order,,,, Ruling on
                           Motion(s)/Document(s),,,, Denying Certificate of Appealability,,,, Granting
                           Certificate of Appealability,,,,,,, ) as to Lindsey Kent Springer (1) (sc, Dpty
                           Clk) (Entered: 10/16/2018)
     10/16/2018   660       PRELIMINARY RECORD Sent to Circuit Court (Re: 659 Notice of Appeal to
                            Circuit Court ) as to Lindsey Kent Springer (1) (With attachments) (sc, Dpty
                            Clk) (Entered: 10/16/2018)




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                    IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA                    )
                                              )
        Plaintiff/Respondent                  )
                                              )
              vs.                             )     Case No. 09-CR-0043-SPF
                                              )
  LINDSEY KENT SPRINGER                       )
                                              )
        Defendant/Movant.                     )



    ORDER GRANTING UNITED STATES’ MOTION FOR LEAVE FILE OUT
             OF TIME AND FOR EXTENSION OF TIME TO
         RESPOND TO DEFENDANT/MOVANT’S APPLICATION
                         (DOC. NO. 636)

        Before the court is plaintiff/respondent United States of America’s

  Motion for Leave to File Out of Time and for Extension of Time to Respond.

  Citing excusable neglect, the Government seeks leave to file out of time

  pursuant to Fed.R.Civ.P. 6(b)(1)(B). The Government also requests an

  extension of time to respond to Mr. Springer’s Application to Set Aside the

  Judgment Entered on August 22, 2014, in Springer’s 28 U.S.C. § 2255

  Proceeding Based Upon Ten Frauds upon the § 2255 Court. Doc. no. 625.

        The Government’s motion for leave to file out of time, and for a three-

  week extension in which to file its response to Mr. Springer’s application is

  hereby GRANTED. The Government’s response to Mr. Springer’s application

  shall be filed not later than April 13, 2018. Any reply brief which Mr.




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  Springer wishes to file is due within 21 days of the filing of the Government’s

  response brief.

          Dated this 26th day of March, 2018.




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               IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA


                                             )
   UNITED STATES OF AMERICA,                 )
                                             )
                       Plaintiff,            )
                                             )   Case No. 09-CR-0043-SPF
   -vs-                                      )
                                             )
   LINDSEY KENT SPRINGER,                    )
                                             )
                       Defendant.            )

                                         ORDER

          Mr. Springer’s motion (doc. no. 638) asks the court to reconsider its order of
  March 26, 2018 (doc. no. 637) and seeks related relief. The order in question gave
  the government additional time within which to respond to Mr. Springer’s motion at
  doc. no. 625. The challenged order makes determinations that are well within the
  court’s discretion and its authority to control the briefing schedule. Mr. Springer’s
  motion to reconsider is DENIED.
          IT IS SO ORDERED this 3rd day of April, 2018.




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             IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA,                       )
                                                  )
         Plaintiff/Respondent,                    )
                                                  )
  vs.                                             )     Case No. 09-CR-0043-SPF
                                                  )     (Civil Action No. 13-CV-0145-SPF)
  LINDSEY KENT SPRINGER,                          )
                                                  )
         Defendant/Movant                         )

                                              ORDER
         Mr. Springer moves the court to set aside the judgment entered on August 22,
  2014 in Mr. Springer’s 28 U.S.C. § 2255 proceeding, contending attorneys in those
  proceedings      committed       fraud    on    the    court    when     they    made     certain
  misrepresentations to this court about matters related to the authority of certain
  attorneys who represented the United States in Mr. Springer’s underlying criminal
  prosecution. Doc. nos. 625 (motion), 626 (brief), 627 (affidavit, including 26
  exhibits). This court has previously concluded that Mr. Springer’s motion is a true
  Rule 60(d)(3), Fed. R. Civ. P., motion, and not a successive § 2255 motion. Doc.
  no. 635. Following that ruling, the United States filed a response brief, opposing
  relief. Doc. no. 641. Mr. Springer filed a reply brief. Doc. no. 642.
         Mr. Springer asserts ten frauds on the court which he contends occurred
  during the § 2255 proceedings. 1 The court has previously rejected similar challenges

  1 Mr. Springer alleges that the following grounds for fraud on the court. (1) Mr. Marella never
  held the inferior office of DAAGTD. (2) O'Reilly never received a letter dated December 23, 2008
  that shows O'Reilly received authorization to prosecute Springer pursuant to 28 U.S.C. § 515(a)
  and 28 CFR §0.13(a). (3) O'Reilly never received a letter dated January 5, 2009 that appointed
  O'Reilly to the Appointments Clause Inferior Office of SAUSA for the NDOK, for a 1-year term,
  by O'Meilia. (4) Congress has not enacted any Federal Statute that directs USA’s the Constitutional
  authority to appoint SAUSAs in their district. (5) The term of office of an SAUSA is fixed by the
  term of the appointing officer terminating O'Reilly's purported term upon the resignation of his



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  by Mr. Springer which, like these alleged frauds, related to the authority of attorneys
  involved in his criminal prosecution.2 What is different here, is that Mr. Springer
  contends the government made various misrepresentations on this topic, to the court,
  during proceedings in Mr. Springer’s § 2255 motion. Accordingly, Mr. Springer
  moves under Rule 60(d)(3), contending he did not get a fair shot in the § 2255
  proceedings. He asks the court to vacate its August 22, 2014 judgment and give him
  another try at § 2255 relief.
         Mr. Springer has submitted a motion and brief, as well as a lengthy declaration
  with numerous documents attached. The documents include, but are not limited to,
  various responses to Freedom of Information Act requests. The government’s
  response brief explains why certain of the FOIA responses are not material, and goes
  on to submit its own documents.
         Fraud on the court holds the movant to a demanding standard of proof.
  United States v. Baker, 718 F.3d 1204, 1207 (10th Cir. 2013). Here, the government


  appointing officer. (6) There was no USA for the NDOK, as of January 4, 2010, who then extended
  O'Reilly's purported January 5, 2009 appointment from O'Meilia, for a 1-year term. (7) Woodward
  never qualified for the Appointments Clause office of Acting USA for the NDOK beginning June
  28, 2009 through January 21, 2010 pursuant to 28 U.S.C. §542 and 5 U.S.C. §3345(a)(1). (8)
  O'Reilly never received a letter dated January 4, 2010, explaining his purported appointment as an
  SAUSA for the NDOK. (9) Woodward never received any appointment from the AG on January
  21, 2010, pursuant to 28 U.S.C. §546(a), as the NDOK USA for 120 day term. (10) Snoke did not
  hold appointment as a NDOK AUSA between June 28, 2009 through April 28, 2010.

  2 For example, Mr. Springer included arguments about certain government attorneys’ lack of
  authority to prosecute Mr. Springer on behalf of the United States, in the grounds for relief asserted
  in his § 2255 petition. These types of arguments, which constituted a challenge to the court’s
  jurisdiction, were dismissed by this court on procedural grounds. Alternatively, they were also
  denied on their merits as frivolous arguments so lacking in merit that this court found it would be
  a waste of time to further entertain them. Order at doc. no. 537, pp. 6-7; with judgment of August
  22, 2014 (the judgment challenged in the current Rule 60(d)(3) motion) at doc. no. 585. Mr.
  Springer appealed this court’s disposition of his § 2255 petition, including issues related to Charles
  A. O’Reilly’s purported lack of authority to represent the United States in Mr. Springer’s criminal
  case. Doc. no. 588. The court of appeals denied Mr. Springer’s attempt to seek a certificate of
  appealability, stating that “reasonable jurists would not debate the correctness of the district court’s
  comprehensive orders disposing of this case.” Doc. no. 599, p. 2 of 5.



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  has submitted correspondence (on Department of Justice letterhead) which addresses
  Charles A. O’Reilly’s authorization to represent the United States, in the United
  States District Court for the Northern District of Oklahoma, during the years in
  question. See, doc. no. 641-1 at p. 4 of 9 (December 23, 2008 letter to Mr. O’Reilly
  from John A. Marrella, Deputy Assistant Attorney General); at p. 6 of 9 (January 5,
  2009 letter to Mr. O’Reilly from David E. O’Meilia, United States Attorney); and at
  p. 9 of 9 (January 4, 2010 letter to Mr. O’Reilly from Thomas Scott Woodward,
  Acting United States Attorney). The United States also cites various statutes (and
  one federal regulation) regarding appointment powers, and the authority of trial
  attorneys of the Department of Justice to represent the United States in federal legal
  proceedings. The United States relies on these documents and laws to show that
  prosecutors committed no frauds upon the court during Mr. Springer’s § 2255
  proceedings, and that the lawyers who represented the government in the underlying
  criminal case had the authority to do so.
        The court has carefully reviewed both parties’ documentation, along with the
  record as a whole and the legal authorities cited in the parties’ briefs. Having done
  so, the court finds this matter can be determined based upon the record currently
  before it, and that there is no need for an evidentiary hearing. To the extent that Mr.
  Springer’s briefs request additional discovery and appointment of counsel, those
  requests are denied. Additional discovery is not necessary, and Mr. Springer is an
  experienced and capable pro se litigant.
        On the merits of the motion, the court finds and concludes that Mr. Springer
  has not carried his demanding burden. He has not shown that fraud on the court
  occurred during his § 2255 proceedings, and his motion seeking relief from this
  court’s August 22, 2014 judgment is DENIED.
        The remaining issue is whether a certificate of appealability should be
  addressed by this court. Rule 11 of the Rules Governing Section 2255 Proceedings


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  states that the district court must issue or deny a certificate of appealability when it
  enters a final order adverse to the applicant. Other district courts have addressed a
  certificate of appealability when a defendant moves on grounds of fraud on the court,
  seeking relief from a judgment which denied relief under § 2255.3 Accordingly, this
  court will address the certificate of appealability.
          A movant in a § 2255 matter is entitled to a certificate of appealability only
  upon making a substantial showing of the denial of a constitutional right. 28 U.S.C.
  § 2253(c)(2). This standard is satisfied by demonstrating that the issues movant
  seeks to raise are deserving of further proceedings, debatable among jurists of
  reasons, or subject to different resolution on appeal. See, Slack v. McDaniel, 529
  U.S. 473, 484 (2000) ("[W]e give the language found in §2253(c) the meaning
  ascribed it in [Barefoot v. Estelle, 463 U.S. 880, 893 (1983)], with due note for the
  substitution of the word ‘constitutional.’”). Mr. Springer has not made the requisite
  showing and a certificate of appealability is DENIED.
          Dated this 22nd day of June, 2018.




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  3 See, e.g., United States v. Espinal, 2010 WL 23168 (S.D. N.Y. 2010) (defendant moved for relief
  from the court’s judgment denying his motion to vacate, set aside or correct his sentence under 28
  U.S.C. §2255, contending that judgment was procured by fraud on the court; a certificate of
  appealability was denied by the district court).



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                                                                      F I L E D
               IN THE UNITED STATES DISTRICT COURT FOR THE Jun 22 2018
                     NORTHERN DISTRICT OF OKLAHOMA      Mark C. McC
                                                                    ar              tt, Clerk



  UNITED STATES OF AMERICA,                 )
                                            )
          Plaintiff/Respondent,             )
                                            )
  vs.                                       )   Case No. 09-CR-0043-SPF
                                            )   (Civil Action No. 13-CV-0145-SPF)
  LINDSEY KENT SPRINGER,                    )
                                            )
          Defendant/Movant                  )

                                      JUDGMENT
          Consistent with the court’s order of today’s date denying Mr. Springer’s
  motion which alleged fraud on the court under Rule 60(d)(3), Fed. R. Civ. P., as a
  basis for relief from this court’s judgment entered August 22, 2014 (the judgment
  which denied relief under 28 U.S.C. § 2255), judgment is hereby entered in favor of
  the United States of America and against defendant/movant Lindsey Kent Springer.
           Dated this 22nd day of June, 2018.




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             IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA


   UNITED STATES OF AMERICA,                 )
                                             )
          Plaintiff/Respondent,              )
                                             )
   -vs-                                      )   Case No. 09-CR-0043-SPF
                                             )
   LINDSEY KENT SPRINGER,                    )
                                             )
          Defendant/Movant.                  )

                                        ORDER

          Five motions are before the court, all brought by Lindsey Kent Springer.
                                  Procedural Background
          Following his conviction, by a jury, of various tax crimes, judgment was
  entered against Mr. Springer on April 28, 2010. Doc. no. 337. Mr. Springer’s
  conviction, and the resulting well-deserved fifteen-year sentence, were affirmed on
  appeal. United States v. Springer, 444 Fed. Appx. 256, 259 (10th Cir. 2011).
          On August 22, 2014, the court entered judgment in proceedings brought by
  Mr. Springer under 28 U.S.C. § 2255. Doc. no. 585 (judgment). That judgment was
  in accord with the court’s first-stage order (doc. no. 537) and its second-stage order
  (doc. no. 584), which, together, addressed approximately seventy-six grounds for
  relief urged by Mr. Springer under § 2255 as challenges to his underlying conviction.
  The first-stage order stated that Mr. Springer’s jurisdictional arguments, which
  included arguments about the lack of the authority of government prosecutors, were
  dismissed as procedurally barred; alternatively, those arguments were denied on
  their merits as frivolous. Doc. no. 537, pp. 6-7 of 12.




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        On October 13, 2015, Mr. Springer moved to enjoin enforcement of the
  criminal judgment against him, making fraud on the court arguments regarding the
  prosecutors’ alleged lack of authorization to prosecute him. Doc. no. 604. This
  court denied the motion, characterizing the arguments as frivolous and as having
  been previously rejected. The court of appeals found that the motion was a second
  or successive § 2255 motion which this court should have dismissed or transferred
  instead of denying, then went on to deny Mr. Springer’s request for a certificate of
  appealability (COA). United States v. Springer, 875 F.3d 968, 983 (10th Cir. 2017).
        On January 4, 2018, Mr. Springer moved to vacate and set aside the order and
  judgment entered on August 22, 2014, which had denied relief with respect to Mr.
  Springer’s original § 2255 motion. Doc. no. 625. He argued that attorneys in the
  § 2255 proceedings (as opposed to attorneys who participated in his criminal trial)
  had committed fraud on the court during the § 2255 proceedings when they made
  certain declarations pertinent to Mr. Springer’s original § 2255 motion.        The
  January 4 motion was brought under Rule 60(d)(3) and alleged ten separate frauds
  upon the § 2255 court. Because it challenged the § 2255 proceedings rather than
  Mr. Springer’s underlying conviction, the court found that the January 4 motion was
  not a second or successive motion under § 2255 but a true Rule 60(d)(3) motion
  challenging the judgment of August 22, 2014. Doc. no. 635.
        On June 22, 2018, the court denied Mr. Springer’s January 4 motion to set
  aside the order and judgment entered on August 22, 2014. An order (doc. no. 645)
  and judgment (doc. no. 646) were entered accordingly. In that June 22 order, the
  court found no fraud on the court had occurred during the § 2255 proceedings. It
  also found no need for an evidentiary hearing and no need for additional discovery.
  The court denied Mr. Springer’s request for appointment of counsel. Finally, the
  June 22 order addressed, and denied, a certificate of appealability.



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        The current motions challenge the June 22, 2018 order (doc. no. 645) and the
  accompanying judgment (doc. no. 646) which, together, found no fraud on the court
  during the § 2255 proceedings and declined to set aside the order and judgment
  entered in those proceedings.
                                     The Motions
        Doc. no. 647. Mr. Springer moves the court to reconsider its order and
  judgment of June 22, 2018 (doc. nos. 645, 646), under Rules 59(e) and 60(b)(6),
  Fed. R. Civ. P.
        Doc. no. 649. Mr. Springer moves the court to set aside the June 22, 2018
  order and judgment (doc. nos. 645, 646) under Rule 60(d)(3), alleging that fraud on
  the court occurred during the proceedings which began on January 4, 2018, when
  Mr. Springer sought relief from the ruling on his § 2255 motion by alleging that
  fraud on the court had occurred during the § 2255 proceedings.
        Doc. no. 653. Mr. Springer moves the court to determine the constitutional
  validity of the appointment to office of government attorneys Charles A. O’Reilly,
  Jeffrey A. Gallant and R. Trent Shores. This motion asks the court to require these
  attorneys to provide Mr. Springer and the court with evidence showing the
  constitutional validity of their current “Appointments Clause appointment” to their
  offices, and asks the court to determine that these attorneys do not hold a current
  appointment.
        Doc. no. 656. Mr. Springer moves the court to strike various documents filed
  by the government in the proceedings which began on January 4, 2018, specifically,
  doc. nos. 629 (government’s response brief), 634 (government’s sur-reply brief), 636
  (government’s motion to file a response brief out of time), 641 (government’s
  response brief) and 655 (government’s response brief). This motion is brought
  primarily under Rule 11(a), Fed. R. Civ, P. (court must strike unsigned paper), but
  also under other rules. The motion argues that the challenged documents are

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  “unsigned” because they are not signed by a person properly appointed to represent
  the government in these proceedings.
        Doc. no. 657. Mr. Springer moves the court for leave to file reply briefs.
                                        * * * * *
        The government responded to the first three motions listed above (doc. nos.
  647, 649, 653), in a consolidated response brief. Doc. no. 655. No responses have
  been filed, and none are yet due, with respect to the other motions filed by Mr.
  Springer (doc. no. 656, 657). After reviewing the motions that have not yet been
  responded to, the court finds that no response is necessary in order for it to rule. (No
  reply briefs have been permitted.) Accordingly, all five motions are ready for
  determination.
                                        Discussion
        Mr. Springer has not made the showing necessary for relief under any of the
  rules he cites. The government has explained and presented evidence to show the
  authority of the attorneys whose appointments have been questioned. Furthermore,
  Mr. Springer’s argument that fraud on the court occurred during his § 2255
  proceedings is frivolous, and there is no need for further discovery or evidence with
  respect to these issues. Accordingly, after considering Mr. Springer’s motions under
  the applicable standards, the court rejects the motion to reconsider (doc. no. 647), as
  well as the motion to set aside (doc. no. 649), the June 22, 2018 order and judgment.
  In addition, the motion at doc. no. 653 will be denied because there is no need for
  the court to specifically determine the constitutional validity of any appointments.
  The motion at doc. no. 656 will be denied because there is no need to strike any
  documents filed by the government. The motion at doc. no. 657 will be denied
  because there is no need for reply briefs on these issues.
        After careful consideration, the motions at doc. nos. 647, 649, 653, 656 and
  657 are DENIED.

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                                 Certificate of Appealability
         A movant in a § 2255 matter is entitled to a certificate of appealability only
  upon making a substantial showing of the denial of a constitutional right. 28 U.S.C.
  § 2253(c)(2). This standard is satisfied by demonstrating that the issues movant
  seeks to raise are deserving of further proceedings, debatable among jurists of
  reason, or subject to different resolution on appeal. See, Slack v. McDaniel, 529
  U.S. 473, 484 (2000) ("[W]e give the language found in §2253(c) the meaning
  ascribed it in [Barefoot v. Estelle, 463 U.S. 880, 893 (1983)], with due note for the
  substitution of the word ‘constitutional.’”). “Where a district court has rejected the
  constitutional claims on the merits,...[t]he petitioner must demonstrate that
  reasonable jurists would find the district court’s assessment of the constitutional
  claims debatable or wrong.” Id. When a prisoner’s habeas petition is dismissed on
  procedural grounds without reaching the merits of the prisoner’s claims, “a COA
  should issue when the prisoner shows, at least, that jurists of reason would find it
  debatable whether the petition states a valid claim of the denial of a constitutional
  right and that jurists of reason would find it debatable whether the district court was
  correct in its procedural ruling.” Id.
         One of Mr. Springer’s arguments for reconsideration which does not go to the
  merits is his assertion that the certificate of appealability (COA) standard does not
  apply in these Rule 60(d)(3) proceedings. Doc. no. 647, pp. 25-27 of 32. He
  contends, therefore, that the court’s order of June 22, 2018 should not have addressed
  a COA. (The government presents no developed argument in response to this
  contention.1) There are non-frivolous arguments which could be presented on both


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    The government’s brief states, in a heading, that the COA standard applies and that the court
  correctly found that Mr. Springer failed to make the requisite showing for a COA. Doc. no. 655,
  p. 6 of 8. But the government nowhere addresses the initial question raised by Mr. Springer’s



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  sides of this question, which appears to be an open one.2 For this reason, in an
  abundance of caution, the court GRANTS Mr. Springer a COA with respect to the
  following procedural issue.
                   Do COA standards and requirements apply to Mr.
                   Springer’s challenge to this court’s ruling of June 22, 2018
                   which denied relief under 28 U.S.C. § 2255, where such
                   challenge is brought under Rule 60(d)(3), Fed. R. Civ. P.,
                   for fraud on the court during § 2255 proceedings?

  Otherwise, a COA remains DENIED.
            IT IS SO ORDERED this 30th day of August, 2018.




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  motion, which is whether COA standards and requirements apply in these Rule 60(d)(3)
  proceedings.
  2
    U.S. v. Chon, 512 Fed. Appx. 855 (10th Cir. 2013), unpublished, states that the court could find
  no case determining whether the Antiterrorism and Effective Death Penalty Act, with its
  gatekeeping requirements such as the requirement for a COA, applies to fraud on the court claims
  raised via Rule 60(d)(3). Id. at 857-58. The court stated that such requirements do, however,
  apply to a claim of fraud on the court by an opposing party, raised under Rule 60(b)(3). Id. at 857.
  Rule 11(a) of the Rules Governing 2255 Proceedings states: “The district court must issue or deny
  a certificate of appealability when it enters a final order adverse to the applicant.”

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